Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 1 of 102 Page ID #:7




               EXHIBIT A
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 2 of 102 Page ID #:8

CT Corporation                                                                                    Service of Process
                                                                                                  Transmittal
                                                                                                  09/01/2021
                                                                                                  CT Log Number 540177099
TO:         Paul Bech
            Chubb
            436 Walnut St
            Philadelphia, PA 19106-3703

RE:         Process Served in California

FOR:        ACE Property and Casualty Insurance Company (Domestic State: PA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: LOS ANGELES LAUNDRY, INC // To: ACE Property and Casualty Insurance
                                                 Company
DOCUMENT(S) SERVED:

COURT/AGENCY:                                    None Specified
                                                 Case # 21STCV21802
NATURE OF ACTION:                                Insurance Litigation

ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                        By Process Server on 09/01/2021 at 11:01
JURISDICTION SERVED :                            California
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 09/01/2021, Expected Purge Date:
                                                 09/06/2021
                                                 Image SOP
                                                 Email Notification, Incoming Legal incominglegal@chubb.com

REGISTERED AGENT ADDRESS:                       Amanda Garcia
                                                330 N BRAND BLVD
                                                STE 700
                                                GLENDALE, CA 91203
                                                800-448-5350
                                                MajorAccountTeam1@wolterskluwer.corn
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                  Page 1 of 1 / AA
        Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 3 of 102 Page ID #:9



                                                                           Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Wed, Sep 1, 2021

Server Name:                Dion Jones




Entity Served              I ACE PROPERTY AND CASUALTY INSURANCE COMPANY

Case Number                i 21stcv21802

Jurisdiction               1 CA




  H110011011011111
                10
Electronically FILED by Case      2:22-cv-00301
                        Superior Court                          Document
                                       of California, County of Los               1-1 09:40
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                                                                                                 Sherri FL Carter. Executive 4 of 102       Page
                                                                                                                                      of Court,        ID #:10Cterk
                                                                                                                                                by R. Perez,Deputy
                                                                                       21STCV21802
                         r
                                                                                                                                                                 SUM-100
                                                    SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                                 (SOLO PARA USO DE LA CARTE)
                                            (CITACION JUDICIAL)
          NOTICE TO DEFENDANT: ACE PROPERTY AND CASUALTY INSURANCE
          (AWS0 AL DEMANDADO): COMPANY; BILL HOLDEN and DOES I TO 100




         YOU ARE BEING SUED BY PLAINTIFF: LOS ANGELES LAUNDRY, INC.;
         (LO ESTA DEMANDANDO EL DEMANDANTE): YAAKOV LEVY; NELSON
          ZAGER



           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.govIselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
           the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
           may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcatitomla.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.govise(thelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
          iAVISOf Lo han demanded°. Sino responde denim de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea la informaciOn a
          continuation.
              Tiene 30 DiAS DE CALENDARIO despues de que le entreguen este citation y papeles legates pars presenter una respuesta por escrito en esta
          cone y hater que se entregue una copia al demandante. Una carte o una ilamada telefonica no lo protegen. Su respuesta por escrito time que estar
          en format° legal correct° si desea que procesen su caso en la code. Es posibie qua hays un formulario quo usted pueda user pare su respuesta.
          Puede encontrar estos formularlos de la code y rites informacion en el Centro de Ayuda de las Cortes de California (r.ww.sucorte.ca.gov), en la
          biblioteca de 'eyes de su condado o en la corte que le quede mss cerca. Si no puede pager la cuota de presentaciOn, pida el secretarto de la corte
          que le de un formulano de exencion de pago de cuotas. SI no presents su respuesta a (tempo, puede perder el caso por incumplimiento y la code le
          podra guitar su sueldo, dinero y bienes sin mss advertencla.
             Hay otros requisitos legates. Es recomendable que !lame a un abogado Inmediatemente. Si no conoce a un abogado, puede &mar a un serviclo de
          remIslian a abogados. Si no puede pager a un abogado, es posibie que cumpla con los requisitos pars obtener servicios legates gratultos de un
          programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sill° web de California Legal Services,
          (wvow.lawhelpcalifornia.org), en el Centro de Ayuda de lei Cortes de California, (v.rww.sticorte.ca.gov) o poniendose en contact° con fa carte o el
          cote& de abogados locales. AVISO: Por ley, la code liens derecho a reclamar las cuotas y los costos exentos porimponer un gravamen sobre
          cualquler recuperaciOn de $10.000 6 mss de valor recibida medianfe un acuerdo o una concesion de arbitrate en un caso de derecho civil. Tiene que
          pager el gravamen de la code antes de quo to cone puede desechar el case.
         The name and address of the court is:                                                       CASE NUMBER:
                                                                                                     (Nairel0 de/ Casio):
         (El nombre y direction de la corte es):
         Superior Court of California, County of Los Angeles                                               21 ST CAs/ 21 802
         111 North Hill Street
                                                                 Sherri R. Carter Executive Officer / Clerk of Court
        Los Angeles. California 90012
        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: Gene J. Goldsman, Esq.
        (Ei nombre, la direction y el armero de Wotan° del abogado del demandante, o del demandante que no terse abogado, es):
        Law Offices ofGene J. Goldman
        501 Civic Center Drive West, Santa Ana, CA 92701                                                                  (714) 541-3333
        DATE:                                                                Clerk, by                     R. Perez                    , Deputy
        (Fecha) 06/11/2021                                                   (Secretario)                                               (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010))
        (Para prueba de entrega de este citation use el formulario Proof of Service of Summons, (POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
          OEAL]:
                                          1. FT as an individual defendant.
                                         2: FT as the person sued under the fictitious name of (specify):
                                                                                     ACE PROPERTY AND CASUALTY INSURANCE
                                               3. x       on behalf of (specify): COMPANY
                                                   under'   I —I    CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                            i-I     CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                            I I     CCP 416.40 (association or partnership)          i 1 CCP      416.90 (authorized person)
                                                           i-1 other (specify): CCP 415.95 (business organization, form unknown)
                                               4. n       by personal delivery on (date):
                                                                                                                                                                    Page f of 1
         Form Adopted to; Mandatory Use                                          SUMMONS                                                  Code of Civil Procedure §§ 412.20. 465
           Judicial County of California                                                                                                                    vevw.00urtinfo.casov
          SUM1CD fRev. July 1. 20091                                                                                                                         flAr ry FAN, R4 gb.,
                         Case 2:22-cv-00301 Document 1-1 Filed 01/14/22        PageOfficer/Clerk
Electronically FILED by Superior Court of California, County of Los Angeles on 06/11/91 5 of 102      Page
                                                                                                 of Court,
                                                                                      1ff tWiliani
                                                                   R. Carter, Executive                           ID #:11 Clerk
                                                                                                           by R. Perez,Deputy
                                                                                                                                                                CM-010
          ATTORNEY 014,ARTY WITHOUT ATTORNEY (Name, Slate Bar number, and address):                                            FOR COURT USE ONLY
        — Gene J. Goldsman, Esq.                                    SBN: 76554
           Law Offices of Gene J. Goldanan
           501 Civic Center Drive West, Santa Ana, CA 92701
                TELEPHONE NO.: (714) 541-3333                    FAX NO.: (714) 541-0456
          ATTORNEY FOR (Arerne):LOS AIIgeleS Laundry, Inc., et al.
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
              STREET ADDRESS 1 1 1 North Hill Street
              MAILING AOOREsS: 111 North Hill Street
             CITY AND ZIP CODE:Los Angeles, 90012
                 BRANCH NAME: Stanley Mosk Courthouse
           CASE NAME: Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty
         Insurance Company, et al.
                                                                                                                 CASE NUMBER:
             CIVIL CASE COVER SHEET                                  Complex Case Designation
        Fl Unlimited                   I Limited                                                                       21 STcv21                  802
                (Amount                   (Amount              I      Counter           I      Joinder
                                                                                                                  JUDGE:
                demanded                  demanded is         Filed with first appearance by defendant
                exceeds $25,000)          $25,000 or less)          (Cal. Rules of Court, rule 3.402)              DEPT:

                                              Items 1-6 below must be completed (see instructions on page 2).
        1. Check one box below for the case type that best describes this case:
            Auto Tort                                        Contract                                    Provisionally Complex Civil Litigation
                   Auto (22)                                LJ      Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
            =I Uninsured motorist (46)                              Rule 3.740 collections (09)                 Antitrust/Trade regulation (03)
            Other  121/PD/WD   (Personal Injury/Property            Other   collections (09)                    Construction   defect (10)
            Damage:Wrongful Death) Tort                             Insurance coverage (18)              El     Mass tort (40)
                   Asbestos (04)                                    Other contract (37)                         Securities litigation (28)
           El Product liability (24)                         Real Property                                      Environmental/Toxic tort (30)
                   Medical malpractice (45)                         Eminent domain/Inverse                      Insurance coverage claims arising from the
                   Other PVPD1WD (23)                               condemnation (14)                           above listed provisionally complex case
                                                                    Wrongful eviction (33)                      types (41)
            Non-Pi/PD/WD (Other) Tort
            CI Business tort/unfair business practice (07) = Other real properly (26)                    Enforcement of Judgment
                   Civil rights (08)                         Unlawful Detainer                                  Enforcement of judgment (20)
                   Defamation (13)                                  Commercial (31)                      Miscellaneous Civil Complaint
           rjI Fraud (16)                                           Residential (32)                            RICO (27)
           I 1 Intellectual property (19)                   I= Drugs (38)                                       Other complaint (not specified above) (42)
                   Professional negligence (25)             Judicial Review                              Miscellaneous MO Petition
           El Other non-PI/PD/WD tort (35)                          Asset forfeiture (05)                       Partnership and corporate governance {21)
            Employment                                      I- 1 Petition re: arbitration award (11) i I Other petition (not specified above) (43}
                   Wrongful termination (36)                        Writ of mandate (02)
                   Other employment (15)                         I Other judicial review (39)
        2. This case ri is                  I is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                                               I
                                                   X
            factors requiring exceptional judicial management:
            a.         Large number of separately represented parties             d. 0 Large number of witnesses
            b. El Extensive motion practice raising difficult or novel                     Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve                       in other counties, states, or countries, or in a federal court
            c.         Substantial amount of documentary evidence                 f. CI Substantial postjudgment judicial supervision
        3.   Remedies sought (check all that apply): a.nn monetary b.              nonmonetary; declaratory or injunctive relief cXpunitive
        4.   Number of causes of action (specify):(3) Breach of Covenant of Good Faith and Fair Dealing; Breach Contra' t; F
        5.   This case         is  n     is not a class action suit.
        6.   If there are any known related cases, file and serve a notice of related case. (You may use fo CM 5.
       Date: June 10, 2021
       Gene J GnIrlsman__F.sq
                                           (TYPE CR PRINT NAME)                                      (SIGNATURE OF PARTY           ORNEY FOR PARTY)
                                                                              NOTICE
          • Plaintiff must fife this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases tiled
            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
            in sanctions.
          • File this cover sheet in addition to any cover sheet required by local court rule.
          • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
            other parties to the action or proceeding.
          • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                               Page I of 2
        Foam Adapted for Mandatory Use                                                                           Cal. Rules of Coed, rules 2,30, 1220, 3.400-•3.403.3.740;
          Judicial Connell of California
                                                                  CIVIL CASE COVER SHEET                                 Col. Standards of Judicial Admintslralon, std. 3.10
          CM-010 (Rey. July 1, 2007)                                                                                                                  www.courlinfo.ca.gov
                Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 6 of 102 Page ID #:12

                                                                                                                                      CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and. Others Flung First Papers. If you are filing a first paper (for example,- a complaint) In a civil case, you must
complete and file, along with yobr first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and nuMbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of Case listed in item 1,
check the more specific one. If the case has multiple causes of action, cheek the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples' of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be tiled only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil, case may subject a party,
its counsel, or both to sanctions Under rules 2.30 and 3.220 of the California Rules of Court.
To Paitiet in Rule 3.740 Collection's Cases. A "collections case" under rule 3.740 is definedss an action for             • recovery of money
owed in a sum stated to be certein that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or-money was acquired on credit: A collections case does not include an action seeking the following:.(1) tort
damages, (2) pUnitive damages, (3) recovery of real property,, (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
tithe-for-serviee requirements and case management rules, unless a defendant files .a •responsive.plpaciing. A rule. 3.740 collections
case:will be subject to the requirements for service and obtaining a jedgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must, also use the Civil Case Cover Sheet to designate 'whether the
case is complex. If a plaintiff believes the case is complex Under rule 3.400' of the California Rules :of COurt, this must be indicated by
completing the appropriate boxes in items 1 and 2, If a plaintiff designates a case as complex, the cover sheet must Pe served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff'S designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is cOmplex.
                                                          CASE   TYPES AND  EXAMPLES
 Auto Tort                                       Contract                                          Provisionally COmplex Civil Litigation. (Cal:
     Auto (22)--Personal Injury/Properly            Breach of Contract/Warranty (06)               Rules of Court Rules 3:490-3.403)
         Damage/Wrongful Death                          Breath of Rental/Lease                          Antitrust/Trade Regulation (03):
    Uninsured MOlorist (46) (if the                         Contract (not unlawful detainer              Construction Detect (10)     ..
            case involveagn uninsured                           or wrongful eviction)                    Claims:Involving Mass Tort (40)
            motorist claim' strbjett•to                  Contrect/Warranty Breach-Seller                SeCuritieS Litigation. (28)
            arbitration, check this item                    Plaintiff (not fraudor negligence)          EnvironmentaVToxic Toil (30)
            instead 01Auto)                              Negligent Breech of Contract!                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                               Warranty                                  • (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                 case type listed above) (41),
Tort                                                  Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                        book accounts} (09)                           Enforeement Of Judgment (20)
           AibeStot Property Damage:                      Collection Case-Seller Plaintiff                  Abstract of Judgment (Out of
          AsbeitOs Personal Injury/                       Other Prprisspry.Note/Collections                      County) •
               Wrongful Death                                  Case                                         Con          of Judgment (non-
      Product Liability, (not asbestos or            .1nsurance Coverage'(not provisionally                      domestic relations).
          tOkicleindronMental) (24)                      complex) (10)                                      Sister Stale•Judgment
      Medical Malpractice (45)                        - AUtO Subrogation                                    Administrative Agency Award
         Medical Malpractice-                           Other Coverage                                         (notunpaid taxes)
               Physicians & SurgeOns                 Other Contract (37)                                    Petition/C.ertification of Entry.of
         Other Professienal Health Care                  Contractual Fraud                                     Judgment on Unpaid Taxes
              Malpractide                                OtherContract Dispute                              Other Enforcement of Judgment
      OtherPI/PD/WD (23)                         Real Property                                                  Case
         Premises Liability (e.g., slip             Eminent Domain/InVerse                          Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                              RICO(27)
           Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                             Other Complaint (nol specified
                (e.g., assault, vandalism)                                                                  above) (42)
                                                    Other Real Property (e.g., quiet title) (26)
           Intentional infliction of    -                                                                   Declaratory Relief Only
                                                        Writ Of Possession of Reel Property                 Injunctive Relief Only (non-
                Emotional Distrets                      MorlgaTgneleForeclosure
           Negligent Infliction of                                                                              harassment)
              Emotional Distress                                                                            Mechanics Lien
                                                         01  ert Real Property (noteminent
                                                         Quhie
         Other PI/PD/WD.                                                                                    Other Commercial Complaint
                                                         doMain;landlordltenant or
Non-Pl/PO/WD (Other) Tort                                foreclosure)
                                                                                                                Case (non-tort/non-complex)
                                                                                                            Other Civil Complaint
   Business Tort/Unfair'Business                Unlawful Detainer                                               (non-tort/non-coinplex)
       Practice (07)                                Commercial (31)
                                                                                                    Miscellaneous:Civil Petition
   Civil Rights (e.g., discrimination,,             Residential (32)                                   Partnership and Corporate
        false arrest) (not civil                    Drugs (38) (if the case involves illegal                pOvernance (21)
         harassment) (08)                               drugs; check this item; otherwise;              Other Petition (not specified
      Defamation (e.g., slander, libel)                 report as Commercial ofResidential)                 above).(43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                    Asset Forfeiture (05)                                    Workplace.Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                    EldeAr/b   e ndent Adult
                                                                                                                   Duespe
     Professional Negligence (25)                    Writ Of Mandate (02) -
         Legal Malpractice                                Writ-Administrative Mandamus                      Election Contest
         Other Professional MalpractiCe                Writ--Mandamus on Limited Court •                    Petition for Name Change'
          (not medical or legal)                           Case. Matter                                     Petition for Relief Front Late
   Other Non-Pl/PD/WD Tort (35)                        Writ-Other United Court Case                              Claim
Employment                                                 Review                                           Other Civil Petition
   Wrongful Termination (36)                        Other Judicial Review (39)
   Other Employment (15)                               Review of Health Officer Order
                                                       Notice of Appeal-Labor
                                                           CommissionerAPpeals
GM-o70 (Rev. Jury 1, 2007)                                                                                                                 rage 2 of 2:
                                                    CIVIL CASE COVER. SHEET
                Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 7 of 102 Page ID #:13


  sHoir TITLE: Los Angeles Laundry, Inc., et al. v. Ace Property and Casualty                             CASE NUMBER

 Insurance Company, et at.

                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: in Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.
2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing In North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6, Location of property or permanently garaged vehicle.




                                 A                                                             B                                                       C
                     Civil Case Cover Sheet                                             Type of Action                                      Applicable Reasons -
                           Category No.                                                (Check only one).                                     See Step 3 Above

                             Auto (22)              0    A7100 Motor Vehicle - Personal Injury/Property DamageNtirengful Death              1, 4, 11

                     Uninsured Motorist (48)        0    A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                    0 A6070 Asbestos Property Damage                                                        1, 11
                           Asbestos (04)
                                                    0    A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11

                      Product Liability (24)        0    A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                    0    A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                    MediCal Malpractice (45)
                                                    El A7240 Other Professional Health Care Malpractice                                     1, 4, 11


                                                    0    A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                            1, 4, 11
                         Other Personal
                         Injury Property            0    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                            1, 4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death (23)                                                                                                       1, 4, 1i
                                                    0    A7270 Intentional Infliction of Emotional Distress
                                                                                                                                            1, 4, 11
                                                    0    A7220 Other Personal Injury/Property Damage/Wrongful Death




  LASC CIV 109 Rev. 12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
  gnr AAcinriatnni 1.1en                             AND STATEMENT OF LOCATION                                                            Page 1 of 4
                            Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 8 of 102 Page ID #:14

 SHORT TITLE. Los Angeles Laundry, Inc., et al. v. Ace Property and Casualty                                  CASE NUMBER

Insurance Company, et al.

                                          A                                                          B                                                C Applicable
                               Civil Case Cover Sheet                                           Type of Action                                     Reasons - Sea Step 3
                                     Category No.                                              (Check only one)                                          Above

                                 Business Tort (07)          0   A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1, 2, 3

                                   Civil Rights (08)         0   A6005 Civil Rights/Discrimination                                                 1, 2, 3

                                   Defamation (13)           0   A6010 Defamation (slander/libel)                                                  1, 2, 3

                                     Fraud (16)              0   A6013 Fraud (no contract)                                                         1, 2, 3

                                                             0   A6017 Legal Malpractice                                                           1, 2, 3
                            Professional Negligence (25)
                                                             0   A6050 Other Professional Malpractice (not medical or legal)                       1, 2, 3

                                      Other (35)             0   A6025 Other Non-Personal Injury/Property Damage tort                              1, 2, 3

                              Wrongful Termination (36)      0   A6037 Wrongful Termination                                                       1, 2, 3

                                                             0   A6024 Other Employment Complaint Case                                            1, 2, 3
                               Other Employment (15)
                                                             0   A6109 Labor Commissioner Appeals                                                 10

                                                             0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                  2 5
                                                                       eviction)
                            Breach of Contract/ Warranty                                                                                          2, 5
                                        (06)                 0   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                  (not insurance)            0   A6019 Negligent Breach of Contract/Warranty (no fraud)                           1, 2, 5
                                                                                                                                                  1, 2, 5
                                                             0   A6028 Other Breach of ContracWVarranty (not fraud or negligence)

                                                             0   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                   Collections (09)
        O
                                                             0   A6012 Other Promissory Note/Collections Case                             -       5, 11
    0
                                                             0   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6. 11
                                                                       Purchased on or after January 1, 2014)
                              Insurance Coverage (18)        0   A6015 Insurance Coverage (not complex)                                           1., 2, 5, 8

                                                             iii A6009 Contractual Fraud                                                          1, 2, 3, 5
                                 Other Contract (37)         0   A6031 Tortious Interference                                                      1, 2, 3, 5
                                                             0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                              Eminent Domain/Inverse         0   A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                                Condemnation (14)

       a)                      Wrongful Eviction (33)        0   A6023 Wrongful Eviction Case                                                     2, 6


   io                                                        0   A6018 Mortgage Foreclosure                                                       2, 6
       ao
    ce                        Other Real Property (26)       0   A6032 Quiet Title                                                                2, 6
                                                             0   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                            Unlawful Detalner-Commerclal         A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                                             0                                                                                    6, 11
                                        (31)
    Unlawful Detainer




                            Unlawful Detainer-Residential
                                                             0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                        (32)
                                Unlawful Detainer-
                                                             0   A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                               Post-Foreclosure (34)

                            Unlawful Detainer-Drugs (38)     0   A6022 Unlawful Detalner-Druas                                                    2, 6, 11



                                                            CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
LASC CIV 109 Rev. 12/18
       • •              •
                                                               AND STATEMENT OF LOCATION                                                          Page 2 of 4
                                             Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 9 of 102 Page ID #:15

 SHORT TITLE: Los Angeles Laundry, Inc., et aI. v, Ace Property and Casualty                                                    CASE NUMBER

Insurance Company, et al.
                                                            A                                                          B                                  C Applicable
                                                 Civil Case Cover Sheet                                          Type of Action                        Reasons - See Step 3
                                                       Category No.                                             (Check only one)                             Above

                                                  Asset Forfeiture (05)        0   A6108 Asset Forfeiture Case                                         2, 3, 6

                                               Petition re Arbitration (11)    0   A6115 Petition to Compel/ConfirmNacate Arbitration                  2, 5
             Judicial Review




                                                                               0   A6151 Writ - Administrative Mandamus                                2, 8
                                                  Writ of Mandate (02)         0   A6152 Writ -Mandamus on Limited Court Case Matter                   2
                                                                               0   A6153 Writ - Other Limited Court Case Review                        2

                                               Other Judicial Review (39)      0   A6150 Other Writ /Judicial Review                                   2, 8

                                             Antitrust/Trade Regulation (03)   0   A6003 Antitrust/Trade Regulation                                    1, 2, 8
          Provisionally Complex Litigation




                                                Construction Defect (10)       0   A6007 Construction Defect                                           1, 2, 3

                                               Claims Involving Mass Tort
                                                                               0   A6006 Claims Involving Mass Tort                                    1, 2, 8
                                                          (40)

                                                Securities Litigation (28)     0   A6035 Securities Litigation Case                                    1, 2, 8

                                                       Toxic Tort
                                                                               0   A6036 Toxic Tort/Environmental                                      1, 2, 3, 8
                                                   Environmental (30)

                                              Insurance Coverage Claims
                                                                               0   A6014 Insurance Coverage/Subrogation (complex case only)            1, 2, 5, 8
                                                from Complex Case (41)

                                                                               0   A6141 Sister State Judgment                                        2, 5, 11
                                                                               0   A6160 Abstract of Judgment                                          2, 6
  Enforcement




                                                     Enforcement               0   A6107 Confession of Judgment (non-domestic relations)               2, 9
                                                                                                                                                                          •
                                                   of Judgment (20)            0   A6140 Administrative Agency Award (not unpaid taxes)                2, 8
                                                                               0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax      Z6
                                                                               0   A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                       RICO (27)               0   A6033 Racketeering (RICO) Case                                     1,- 2, 8
  Civil Complaints
   Miscellaneous




                                                                               0   A6030 Declaratory Relief Only                                      1, 2, 8

                                                  Other Complaints             0   A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                              (Not Specified Above) (42)       0   A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                                                               0   A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                                                Partnership Corporation
                                                                               0   A6113 Partnership and Corporate Governance Case                    2, 8
                                                   Governance (21)

                                                                               0   A6121 Civil Harassment With Damages                                2, 3, 9
  Miscellaneous
  Civil Petitions




                                                                               0   A6123 Workplace Harassment With Damages                            2, 3, 9
                                                                               0   A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                                  Other Petitions (Not
                                                 Specified Above) (43)         0   A6190 Election Contest                                             2
                                                                               0   A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                               0   A6170 Petition for Relief from Late Claim Law.                     2, 3, 8
                                                                               0   A6100 Other Civil Petition                                         2, 9




                                                                              CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
LASC 01V 109 Rev. 12/18
                                                                                 AND STATEMENT OF LOCATION                                            Page 3 of 4
            Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 10 of 102 Page ID #:16

  slioRrrrn.a: Los Angeles Laundry, Inc:, et al. v. Ace Property and Casualty            CASE NUMBER

 Insurance. Company, et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                    ADDRESS:
   REASON:                                                           6032 Shull Street
    01.02.03.04.05.06.07. 08.0 9.010.R -11.



   CITY:                                   STATE.      ZIP CODE:

   Bell Gardens                           CA          90201

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                         District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq. and Local Rule 2.3(a)(1)(E)).




  Dated: June 10. 2021
                                                                                   (SIGNATURE OF ATTORNEY   GPARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
      1.. Original Complaint .or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         02/16).
       5. Payment in.full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




                                         CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
  LASC CIV 109 Rev, 12/18
                                            AND STATEMENT OF LOCATION                                                   Page 4 of 4
            Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 11 of 102 Page ID #:17




                            Superior Owl :of califOrnia,„ County of LOsAr1

                                    ALTERNATIVE DISPUTE: gSpV(41PN AD
                                           INFORMATION .PA(KAG-E'

  THE PLAINTIFF MUST SERVE THIS ApR INFORMATION PACKAGE ON EACH PARTY WITH,THE COMPLAINT.

.":CROSS-COMPLAINANTS must serve thi -,ADll' inforrtia0Orti!Pa                  age ditii:any new parties named to the action
  with the cross-complaint.



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    26 11) MCPARIS APPLICATIONS
    27    a) Es pate applications and ell dociureens in support thereofmust bo chemically filed no later
    28       than 10.00 a.m. the court dayMadreex paste hearing.


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      2      day of the ex paste heming. A plated courtesy copy of any opposition to as ex pure
      3       'Facades must be provided to thea= the day ethos ex paste hearing.
      4 9) PRIME)COURTESY COPMS
      5   a) For any filing electrordadly filed two or fewer days before the hearing, a comes,copy must
             be delivered to the countoom by 4:30 p.m. the woe Waitress day the document Is ailed. If
              the efillogis submitted alter 4:30 p.m., the =mew copy must be delivered to the courtmeta
      8       by 10:00ara the next bushier: day.
          b) Regardless of die than of electronic BEng, aprimed courtesy copy (along withproofof
     10      &amnia submission) is requited far the meowing documents:
     11      0 Any printed doctaneat required pormast to a Standing or reseed Order
     12      11)   Pleadings and motions (locluding atahments such as declarations andexhibits) of 26
     13            pages orlon
     14     HI)    Plaidinge and modem thatInclude points and authorities;
     Is     iv)    Demurrers;
     16      v)    Anti-SLAW filings, pursue; to Code ofCivil Procedure six2100 423.16;
     17      v1)   Mathes for Summary ItalgoresAdjudication; and
     18     vii)   Mod= to Compel Father Discovery.
     19   c) Nothing its this Oaten! Order precludes aludicid Officer from requesting a courtesy copy of
    20       Marled dements. Courtroom speelliccourtesy copypidellees can be found at
    21       mamma ea the Clvii webpago under "CoatroomIdeanation."
    22 0) WAIVER OPPM AND COSTS FOREiLECIRONICAILY FILEDDOCUMENTS
    23    a) Foes sad coats assaclaut with'Iwo& (Mug must be waived for any Wont who has
    24       received a fee waiver. (California Rules daunt.rules 2.253(b)O, 2.238(b),Code Civ.Pros.
    23       1010.6(d)(2).)
    26    b) Fee waiver applications for waiver ofcourt fees end casts pursuant to Code of Cid Procedure
    27       section 1010.6. aubdividon (bX6). and California Rules ofCOM, rule 2.2520),may be
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                   Iv.   De moved on the meshy party pursuant to any authorized or speed upon
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           S. Ties parties hereby further agree Mat the dine for nailing s rttolt q to compel or Whir
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                                  How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

            a. The Civil Mediation Vendor Resource List
               If all partiesin an active civil case agree to mediation, they may contact these organizations
               to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
               cases►.

                    •    ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                         (949)863-9800
                    •    JAMS, Inc. Assistant Manager Reggie Joseph, kloseph@iamsadr.com (310) 309-6209
                    •    Mediation Centerof Los Angeles Program Manager info@ mediat          ore
                         (833) 476-9145

       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by video conference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourtordADR.Resilst

       NOTE: The Civil Mediation Vendor Resource list program does not accept family law, probate or small
       claims cases.

           b. Los Angeles County Dispute Resolution Programs
               httos://hrc.lacountv.eoviwo-content/uploads/2020/05/ORP-FacOneet-230ctober19-C.tirrent-as-of.October-2019-1.0df

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

       3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
       decision is final; there is no right to trial. in "nonbinding" arbitration, any party can request a
       trial after the artAtratoesdecision. For more information about arbitration, visit
       htto://www.courts.ca.eoviprograms-adr.htm

       4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held dose
       to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
       officer who does not make a decision but who instead assists the parties in evaluating the strengths and
       weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
       programs for civil cases, visit http://www.lacourt.org/divisionJcivil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/divisionicivil/C10109.aspx
      For generalInformation and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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For Mandatory Use                                                                                            Page 2 of 2
          Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 31 of 102 Page ID #:37

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                   NOTICE OF CASE ASSIGNMENT'                                             Shen; R Cart, Exemfleaater Oadtk at Caui
                                                                                            By                R. Pitoez              Deputy
                          UNLIMITED CIVIL CASE

                                                                                    .CASE NUMBER:
  Your case is assigned for all purposes to the judicial officer indicated below.   2.1 STCV21802

                           THIS FORM IS TO BE' SERVED WITH THE SUMMONS AND COMPLAINT.

                ASSIGNED JUDGE             DEPT      ROOM                     ASSIGNED RIDGE                        DEPT        ROOM
    j    Michael L: Stern                  62




    Given to the PlaintiftCrosseomplainant/Attomey. of Record   Sherri R. Carter, Executive Officer /Clerk of Court
    on 06/1112021                                                         By R. Perez                                           „Deputy Clerk
                 (Date)
LACIV 190 (R64 6/18)        NOTICE OF CASE,ASSIGNMENT -UNLIMITED CIVIL CASE
LASC Approved 05/06
          Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 32 of 102 Page ID #:38

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior.Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial datc. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not, a complete delineation of the Division 7 •or Chapter Three Rules, and adherence only to the above provisions is
therefore net a guarantee. against the imposition of sanctions under Trial. Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to.Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising. Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05106
        Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 33 of 102 Page ID #:39



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: LOS ANGELES LAUNDRY, INC., et al. vs ACE PROPERTY AND           CASE NUMBER:
CASUALTY INSURANCE COMPANY, et al.                                           21STCV21802

         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The.Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: One Legal
Reference Number: 16446608
Submission Number: 21LA03681632
Court Received Date: 06/11/2021
Court Received Time: 9:40 am
Case Number: 21STCV21802
Case Title: LOS ANGELES LAUNDRY, INC., et al. vs ACE PROPERTY AND CASUALTY INSURANCE
COMPANY, et al.
Location: Stanley Mosk. Courthouse
Case Type: Civil Unlimited
Case Category: Contractual Fraud
Jurisdictional Amount: Over $25,000
Notice Generated Date: 06/11/2021
Notice Generated. Time: 10:47 am

Documents Electronically Filed/Received                  Status

Complaint                                               Accepted




Civil Case Cover Sheet                                  Accepted




Summons                                                 Accepted




NOtiCe (name extension)                                 Accepted



                                      NOTICE OF CONFIRMATION OF FILING
       Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 34 of 102 Page ID #:40




Comments
Submitter's Comments:

gerKs Comments:

Electronic Filing Service Provider Information
SerVice Provider: One Legal
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                                    NOTICE OF CONFIRMATION OF FILING
         Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 35 of 102 Page ID #:41


                                           LAW OFFICES OF

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      EVAN A. BLAIR                      WIVIV.GJGLAW.COM 1 LAWYERSOGJGLAWCOM                                  'OF COUNSEL




           E-SERVICE NOTICE TO ALL DEFENDANT(S) AND ATTORNEYS OF RECORD

        If defendant(s), through their counsel, wish to electronically serve legal documents to our office
        in the pendency of this or any other action, they must first attain express consent to do so pursuant
        to Code of Civil Procedure § 1010.6.

       All documents to be electronically served, except written discovery, must be served to
       ESERVICE(GJGLAW.COM ONLY. All written discovery (requests and responses), must be
       served to DISCOVERY@GJGLAW.COM ONLY. Electronic service will not be valid if sent to
       any other e-mail addresses without express written consent from the owner of the proposed
       receiving e-mail account. The notice period required for electronic service Code of Civil Procedure
       § 1010.6 applies to all documents served electronically. Our office also continues to accept service
       by mail with applicable notice periods.

       IF YOU DESIRE TO SUBPOENA MEDICAL, INSURANCE OR EMPLOYMENT
       RECORDS, MAKE SURE THAT THE SUBPOENAS ARE DRAFTED BY THE
       ATTORNEY AND THE RECORDS REQUESTED ARE FOR SPECIFIC BODY PARTS
       ONLY. DO NOT LET A COPY SERVICE GENERATE THE SUBPOENA THAT IS NOT
       SPECIFIC NOR PARTICULAR TO THIS PLAINTIFF OR PLAINTIFF'S INJURIES.
       YOU ARE ON NOTICE THAT WE WILL SERVE OBJECTIONS AND FILE A MOTION
       TO QUASH, ASKING FOR SUBSTANTIAL COSTS, SANCTIONS AND ATTORNEYS
       FEES SHOULD YOU NOT HEED THIS WARNING. DO NOT START THE SUBPOENA
       LANGUAGE WITH "ANY AND ALL" AND LODGE THE LIMITATIONS AT THE END
       OF THE PAGE AS IT IS VAGUE AND AMBIGUOUS.

       FURTHER, DO NOT PUT THE WORDS "TO EXCLUDE" CERTAIN RECORDS ON
       THE SUBPOENA. THE SUBPOENA MUST STATE EXACTLY WHAT RECORDS YOU
       WANT AND NOT THE RECORDS YOU DO NOT WANT.

       IF YOU DISAGREE TO THE PROPOSED SCOPE OF THE SUBPOENAS AS SET
       FORTH ABOVE, PLEASE ADVISE OUR OFFICE IN WRITING PRIOR TO ISSUING
       THE SUBPOENAS SO THAT WE CAN MEET AND CONFER.


                                                           Sincerely,

                                                           LAW 0                                J. GOLDSMAN


                                                           Gene J. Goldsman
                      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22        Page Officer/Clerk
                                                                                      36 of 102
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                                                                                               of Court,         ID #:42Clerk
                                                                                                         by R. Perez,Deputy

                                         Assigned for ail purposes to: Stanley Mosk Courthouse, Judicial Officer: Michael Stem




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               5      ZAGER
               6
               7
               8
               9
                                                   SUPERIOR COURT FOR THE STATE OF CALIFORNIA
             10
                                  FOR. THE COUNTY OF LOS ANGELES- STANLEY MOSK COURTHOUSE
             11
             12
                     LOS ANGELES LAUNDRY, INC.;                                                 Case No.:   21 Si - CV 21 80 2
             13      YAAKOV LEVY; NELSON ZAGER,                                                 Assigned;
                                                                                                Dept.
             14                              Plaintiffs,
                     v.
             15
             16      ACE PROPERTY AND CASUALTY                                                  I. BREACH OF THE COVENANT OF
                     INSURANCE COMPANY; BILL                                                       GOOD FAITH AND. FAIR DEALING IN
             17      HOLDEN and DOES 1 TO 100,                                                     TORT (BAD FAITH);
             18                                                                                 2. BREACH OF CONTRACT / BREACH OF
                                              Defendants.                                          THE COVENANT OF GOOD FAITH AND
             19                                                                                    FAIR DEALING IN CONTRACT;
                                                                                                3. PROMISSORY  FRAUD / DECEIT
             20
             21
             22

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                                                                      COIVIPLALNT.
                                Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 37 of 102 Page ID #:43




 1    Plaintiffs, LOS. ANGELES LAUNDRY, INC.; YAAKOV LEVY; NELSON ZAGER,
 2   hereby alleges against ACE PROPERTY AND CASUALTY INSURANCE COMPANY;
 3   BILL HOLDEN; and DOES 1 TO 100, as follows:
 4
 5                                       FIRST CAUSE OF ACTION

 6        BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

 7           (As against, against ACE PROPERTY AND CASUALTY INSURANCE COMPANY;

 8           BILL HOLDEN and DOES 1 TO 100)

 9   1.    Plaintiff is and at all times mentioned herein, was an individual residing in the County of

10   Alameda, State of California.

11   2.    Plaintiff is informed and believes and thereon alleges that Defendant ACE PROPERTY AND

12   CASUALTY INSURANCE COMPANY was at all times herein mentioned, doing business, form of

13   organization unknown, in the County of Los Angeles, State of California as duly licensed insurers

14   doing business in the State of California.

15   3. Plaintiff is informed and believes and thereon alleges that Defendant BILL HOLDEN

16   ("ADJUSTER") was a individual domiciled in State of California, County of Los Angles.

17   3.    Plaintiff is genuinely ignorant of the true names and capacities of Defendants, sued herein as

18   Does 1 through 100, and therefore sues said Defendants by such fictitious names. Plaintiff will amend

19   this Complaint to allege the true names and capacities when the same have been ascertained. Plaintiff

20   is informed and believes and thereon alleges that each fictitiously.narned Defendant is responsible in

21   some manner, for the acts or omissions alleged herein and Plaintiffs injuries as herein alleged were

22   proximately caused by those acts or omissions.

23   4.    At all times herein mentioned, each of the•Defendants was the agent, servant, contractor or

24   employee, joint venture, alter ego, alternative entity, successor, predecessor or alter ego of each of the

25   remaining Defendants, and iri doing the things hereinafter alleged was acting within the course.and

26   scope of such agency or employment, and/or in the furtherance of a partnership, joint venture, co-

27   conspiracy or under some other legal theory and for the benefit of each and every other defendant.

28


                                                         2
                                                   COMPLAINT
             Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 38 of 102 Page ID #:44




 1   5.   The conduct, acts, and omissions of Defendants, and each of them, as described in this
 2   complaint, was undertaken by Defendant ACE 's officers or managing agents, including Defendant
 3   BILL HOLDEN "ADJUSTER" identified as DOES 1 to 100, who were responsible for claims
 4   operations, underwriting, communications, investigations, and decisions. The conduct of the
 5   managing agents and individuals was therefore undertaken on behalf of Defendant ACE. Further,
 6   Defendants, and each of them, had advance knowledge of the actions and conduct of those
 7   individuals, whose actions and conduct were ratified, authorized, and approved by managing agents
 8   and by other corporate officers, directors, or managing agents whose precise identities are unknown
 9   to Plaintiff at this time. Plaintiff thus identifies and designates those individuals as DOES 1 to 100.
10   6.   Defendant, ACE 'S corporate headquarters is located out of the State of California, but has
11   agency offices in LOS ANGELES for• selling policies of indemnity insurance and does sell such
12   policies in and for vehicles and customers in LOS ANGELES County, California, and is an out of
13   state insurance company registered in California to do business.
14   7.    Prior to March 17, 2020, LOS ANGELES LAUNDRY, INC.;. YAAKOV LEVY; NELSON
15   ZAGER purchased an insurance policy for business owners insurance, D95321306, including
16   business owners insurance from Defendants, and each of them, including Plaintiff's Levy and Zager,
17   which policy was in effect on the date of the incident November 4, 2020, and had been in effect prior
18   to the November 4, 2020 incident, and under which Plaintiffs business LOS ANGELES LAUNDRY,
19   Inc. was insured.
20   8.   The force and effect of said contract with Defendants, and each of them, required the payment of
21   an underinsured motorist benefits for a total amount for one person of up to $100,000.00 damages.
22   All premiums due under said contract were paid to Defendants, and each of them, at all relevant times
23   herein, and alrmaterial obligations thereunder were performed by or on behalf of Plaintiff.
24   9.     Defendant, ACE, represented in the aforementioned contract of insurance that Defendants,
25   and each of them, would provide compensation to an insured, including Plaintiff; in the event of a
26   loss caused by a business loss due to vandalism, fire, or other covered loss to the same extent as
27   would be liable to plaintiff, that is up to a total limit of $3,000,000 for Business and additionally
28   Personal Property Loss and $1,120,000 on the building alone.


                                                        3
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 39 of 102 Page ID #:45




 1   10.    On November 4, 2020 incident Plaintiff was at home sick, with covid-19 laying in bed when
 2   the security guard informed him that there was a break in at the facility at 6032 Shull Street Bell
 3   Gardens, CA 90201. On that date plaintiffs business premises was heavily vandalized and machines
 4   were destroyed, resulting in total loss of several heavy pieces of equipment and resulting in the
     destruction of the ability of the business to complete its contracts and work orders. This vandalism
 6   resulted in loss of business income and business property and loss of goodwill toward the business
 7   for Los Angeles Laundry, Inc. One vandal was caught and released on bail the next day, his identity
 8   remains unknown at this time plaintiff retains the right to amend this complaint once his name
 9   becomes known.
10   11.   On or about November 5, 2020, Plaintiffs notified ACE by letter that the Company Los
11   Angeles Laundry Inc. was damaged and needed to be compensated for a covered business loss.
12   12.   All the way until the time of this complaint, Plaintiffs, through their counsel, sent to ACE 'S
13   employees and its employee including BILL HOLDEN, and counsel reputable, and convincing
14   evidence of Plaintiff's Business losses proximately caused by the November 4, 2020 Burglary and
15   Vandalism at the Bell Gardens Location 6032 Shull Street. This evidence included detailed business
16   loss reports, accounting books, assessments, bills, and invoices and pending work orders from
17   extremely reputable and respected accounting personnel within the California finance community.
18   The business loss evidence given to Defendants, and each of them, showed that Plaintiff had among
19   other business Iosses, up to and above $3,000,000 in business equipment damage, loss of income, and
20   loss of personal property. All of Plaintiffs accountings agreed on the seriousness of the condition
21   which was proximately caused by the Burglary and Vandalism.
22   13.    All through the case, and continuing through the litigation, Defendants, and each of them,
23   unjustifiably, negligently, and in bad faith refused and delayed in paying anything of said claim, by
24   failing to investigate properly and setting up false defenses and failed to agree to pay the business
25   losses fairly and to pay the claim despite having been in a position to have obtained convincing
26   knowledge of the circumstances of the accident and Plaintiff's business losses and lost income, and
27   there was no question of liability.
28


                                                        4
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
        Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 40 of 102 Page ID #:46




   1   14.     It was clear early in the claims process that Plaintiff was deserving of some payment of any
  2    amount of the policy at all, but rather than pay or tender an offer commensurate with his losses,
   3   Defendants, and each of them, tormented Plaintiff through litigation, proximately causing and
  4    requiring him to go through the expense of thousands of dollars in litigation costs to his damage, in
  5    addition to proximately causing him the anguish of litigation.
  6    15.    Defendants, and each of them, in derogation of their duty to their policy holder, the Plaintiff,
  7    refused to make a reasonable good faith offer given all the supporting accounting evidence they
  8    possessed and made the Plaintiffs present on multiple occasions in total, despite having received such
  9    evidence several times over. Defendant refused to provide Plaintiff with a good faith offer.
 10    16.     Defendants, and each of them, breached their duty of good faith and fair dealing owed to
 11    Plaintiff in the following respects:
 12            a) Failing unreasonably and in bad faith to make a good faith offer and benefit payments to
 13    Plaintiff at a time when Defendants, and each of them, knew that Plaintiff was entitled to those
 14    benefits under the terms of the policy, and knowing the business owners insurance underwriter was
 15    liable to Plaintiff for any damages Plaintiff incurred as a result of the accident, and should pay a
• 16   significant amount of the policy and it-was reasonably clear that the Plaintiff's damages were easily
 17    worth a significant amount of the policy limits.
 18            b) Unreasonably delaying payments to Plaintiff in bad faith, despite Defendants', and each of
 19    them, knowledge that Plaintiff's claim for benefits under the policy was valid. Defendants, and each
 20    of them, were fully aware that their liability to pay a significant amount of the available policy limits
21     was clear.
22             c) Failing reasonably and promptly to investigate and process Plaintiff's claim for benefits, in
23     that Defendants, and each of them, in the exercise of reasonable diligence, should have known that
24     Plaintiff was injured and damaged to a significant amount of the available policy limits benefits, and
25     that the underinsured motorist was liable to Plaintiff for any damages Plaintiff incurred as a result of
26     the accident.
27             d) Failing to make a good faith effort to obtain prompt, fair, and equitable settlement of
?g     Plaintiff's claims for benefits after the liability of Defendants, and each of them, had become reasonably


                                                          5
                                                    COMPLAINT
              Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al,
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 41 of 102 Page ID #:47




 1   clear, in that Plaintiff was an insured under the policy. Defendants, and each of them, well knew that
 2   the Business owners were owed the policy and ACE thereby was liable for the insurance money and
 3   that Plaintiff's severe business losses clearly exceeded the $3,000,000 business and personal property
 4   loss policy and a significant amount of the available policy limits of Plaintiff's insurance policy, and
 5   instead of paying the claim, went about building a false defense and failed to make a good faith
 6   settlement to Plaintiff prior to the litigation when they could not claim they did not have all of the
 7   Plaintiff's business loss and financial evidence.
 8           e) Tormenting Plaintiff to go through the expense of thousands of dollars in litigation costs, in
 9   addition to the mental anguish associated with the refusal to pay reasonable sums, and with subsequent
10   litigation, and further caused Plaintiff to incur extreme financial stress and anxiety because the benefits
11   due were required to assist Plaintiff during this time of business loss and financial emergency as well
12   as when the Plaintiff's were suffering from the Iong-term effects of Covid-19 for several months.
13           0 Defendants, and each of them, have breached their duty of good faith and fair dealing owed
14   to Plaintiff by other acts or omissions of which Plaintiff is presently unaware, which will be shown
15   according to proof at time of trial.
16   17.      Had Defendants, and each of them, conducted a reasonable investigation of the claim,
17   Defendants, and each of them, would have learned, inter alia, that Plaintiff was damaged by an "at by
18   burglary and vandalism for to the extent of a significant amount of the available policy limits. Instead
19   Defendants, and each of them, did not ever make a reasonable offer after a valid demand, and delayed
20   and procrastinated at every opportunity. Defendant never provided Plaintiff with a good faith offer or
21   at any time during the business loss claim period. These actions were intentional and were undertaken
22   in an effort to discourage Plaintiff from pursuing their business owner's loss claim for damages in an
23   attempt to deprive Plaintiffs of the benefits due to them under their business owner's insurance policy.
24   18. Plaintiff is informed and believes and upon such information and belief alleges that Defendants,
25   and each of them, in furtherance of their scheme to defraud and deprive Plaintiff of benefits under the
26   insurance policy, set up defenses based on dubious and unqualified orthopedic expertise.
27   19.    One of the reasons for denying Plaintiffs' claim for benefits without proper cause, when
28   Defendants, and each of them, knew such claims to be just, reasonable, and due Plaintiff under said


                                                        6
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
       Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 42 of 102 Page ID #:48




  1   policy of insurance, was to place Plaintiff in the disadvantageous position of needing funds to support
  2   himself while injured, thereby placing Plaintiff in a position wherein he would be forced to beg for,
  3   and accept, an offer settling Plaintiff's claim for underinsured motorist benefits in an amount
 4    substantially less than the true amount owed to Plaintiff under the terms of said policy of insurance.
 5    20.    As a direct result of Defendants, and each of them, unreasonably delaying payments to
 6    Plaintiff in bad faith, failing to reasonably and promptly investigate and process Plaintiffs claim
 7    for benefits, and failing to make a good faith effort to obtain prompt, fair, and equitable
 8
      settlement of Plaintiffs claim, for benefits without proper cause, Plaintiff was forced to wait for
 9
      payments due and was forced to proceed with a law suit in bad faith incurring the associated
10
      costs and emotional distress associated with such proceeding and was denied benefits under the
11
      policy to which he was entitled in a time of medical and emotional need.
12
      21.   As a proximate result of the unreasonable and bad faith conduct mentioned above, without
13
      proper cause, Plaintiff has suffered economic and. consequential damages in an amount to be
14
      shown at trial. These damages include, but are not limited to, significant economic loss both as a
15
1.6   result of the subject incident and during the interim period while Defendants, and each of them,

17    were withholding benefits without proper cause; additional costs for health care providers; and

18    all other economic and general damages in a sum to be determined at trial.

19    22.    As a further proximate result of the wrongful conduct of Defendants, and each of them,
20    without proper cause, Plaintiff has suffered anxiety, worry, mental and emotional distress, all to
21    Plaintiffs general damages in a sum to be determined at the time of trial.
22    23.     The conduct of Defendants, and each of them, described in this complaint of deliberately
23    and calculatingly failing to provide the compensation which they knew was due to Plaintiff,
24
      scheming to conspire and defraud Plaintiff, and committing actual fraud against Plaintiff, and
25
      further intentionally inflicting emotional distress upon. Plaintiff, offering a settlement of half the
26
      policy only when threatened with a bad faith suit and in light of compelling medical evidence
27
      supporting that Plaintiff was entitled to the a significant amount of the available policy benefits,
28


                                                          7
                                                    COMPLAINT
             Los Angeles Laundry,. Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 43 of 102 Page ID #:49




 1   While well knowing their policy holder and insured was entitled to policy limits, constitutes malice
 2   and oppression under California Civil Code section 3294, in that it was done with the intent to vex,
 3   injure, or annoy and with conscious disregard of the Plaintiffs rights, and deliberately in bad faith,
 4
     to deny him the benefits to which he was entitled under the policy. All the aforesaid acts were
 5
     performed in an effort to discourage Plaintiff from seeking the compensation due to him at a time
 6
     Defendants, and each of them, knew that the Plaintiff was financially vulnerable. Thus, Plaintiff
 7
     is entitled to punitive and exemplary damages in an amount appropriate to punish and make an
 8
     example of Defendants, and each of them.
 9
     24.     Plaintiff has been required, in order to litigate his rights and prosecute this action, to retain
10
     attorneys and incur attorneys' fees and litigation expense in an amount to be proved.
11
     25.      Because of the refusal of Defendants, and each of them, to pay reasonable benefits, Plaintiff
12
13   was forced to expend additional attorney's fees, expert witness fees, and expenses.

14
                                         SECOND CAUSE OF ACTION
15
            BREACH OF CONTRACT / BREACH OF THE COVENANT OF GOOD FAITH
16
                                       AND FAIR DEALING IN CONTRACT
17
     (As Against ACE PROPERTY AND CASUALTY INSURANCE COMPANY; BILL HOLDEN
18
                                                and DOES 1 to 100)
19
     26.   Plaintiff hereby incorporates by reference all prior and subsequent paragraphs of this complaint
20
     as if set forth in full herein.
21
22   27.   Plaintiff, by paying the premiums entered into the written business owner's insurance policy

23   contract offered him by Defendants, and each of them, prior to and on or about March 17, 2020.

24   Plaintiff was involved in an business loss incident on or about November 4, 2020. Plaintiff retained

25   counsel on or about May 2021 thereafter, in, related to the investigation and settlement of plaintiff's

26   Business loss claims with defendants, and each of them, in hopes to avoid Business Loss arbitration.

27   Thereafter, plaintiff wrote and made demands with hisinsurance company claim KY20K2927210,

28   Defendant, ACE. Plaintiff engaged in over a three-year period of cooperation with defendants, and


                                                         8
                                                   COMPLAINT
             Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 44 of 102 Page ID #:50




 1   each of them during 2020, 2021 and almost 2022. During this time period, there were regular and
 2   numerous letters and communication between plaintiffflaintiffs counsel and insurer including
 3   adjuster BILL HOLDEN and Counsel for Defendant GENE WEISBERG, Esq. for Defendant, ACE.
 4   Plaintiff provided many facts and evidence of the accident occurrence, including evidence of
 5   Business loss from the Burglary and Vandalism which would invoke plaintiff's Business Owners
 6   insurance policy coverage for plaintiffs and each of them.
 7   28.   During 2020, and well into 2021, ACE PROPERTY AND CASUALTY INSURANCE
 8   COMPANY and Defendant adjuster BILL HOLDEN ignored and refused to pay in full, plaintiff's
 9   "no-fault" "BUSINESS LOSS PERSONAL AND PROPERTY LOSS DAMAGE —pay" money due
10   to them under the plaintiff's ACE insurance policy after demand was made and business loss bills
11   were sent to ACE.
12
     29.   Plaintiff's demands for the significant remaining portion of the policy limits or benefits were
13
     denied by ACE after a demand. Plaintiff was thereafter compelled to file a lawsuit against ACE and
14
     ADJUSTER in Bad Faith.
15
     30.   At all times relevant herein, Plaintiff and other insureds under the Business Owners insurance
16
     policy performed all material duties and obligations required under the insurance policy except those
17
     that were excused or discharged. This included making all payments due to defendant, ACE and
18
     ADJUSTER, under the insurance policy. Defendants and each of them, accepted policy premium
19
     payments from plaintiff and other insureds identified within the policy, made on behalf of plaintiff, as
20
     a named policy insured.
21
     31.     Defendants, and each of them, breached their obligations and covenant of good faith
22
     and fair dealing, in contract, under the insurance policy, including the breach of all of the
23
     insurance policy contract's express terms, implied at law terms and implied in fact terms,
24
     including all terms pursuant to Insurance Code section 11580.2 et seq., in the following manner:
25
            a) By failing to conduct a reasonable, full, prompt, timely, thorough, and complete
26
     investigation with reasonable diligence into the facts and circumstances of the incident, and insurance
27
     claim made by Plaintiff throughout the years of 2020; 2021 and majority of 2021.
28


                                                        9
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance.Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 45 of 102 Page ID #:51




             b) By unreasonably delaying in processing and investigation of the claim KY20K2927210
 2   or paying benefits due to Plaintiff under the policy;
 3           c)   By unreasonably delaying in processing and investigation of the Business loss payments
 4   benefits due to Plaintiff under the policy;
 5           d) By unreasonably failing to adequately communicate and negotiate a reasonable settlement
 6   agreement, thus breaching a contractual duty to discuss the claim to which the implied covenant of
 7   good faith and fair dealing in contract, properly attaches;
 8           e) By unreasonably investigating, delaying and denying Plaintiff's claim based on standards
 9   known by the insurer to be improper;
10           f) By unreasonably failing to pay a prompt and reasonable settlement offer to Plaintiff when
11   Defendants were in possession of sufficient evidence to support it and do such;
12           g) By failing to settle and pay plaintiff's claim and business property loss medical payments
13   claim in a timely and prompt manner, and instead withheld payment of these claim benefits until
14   plaintiff had paid for a costly investigation for that was unnecessary at defendants' insistence.
15           f)   By doing each of the acts or omissions described within all other causes of action of this
16   complaint, which were contractual promises, duties and obligations by the insurance policy contract's
17   express terms, implied at law terms and implied in fact terms including Insurance Code section
18   11850.2, 790.03 and California law.
19          .g) Subdivision (a) — through (f), and other obligations, duties and terms described and
20   referenced (that were violated), as described throughout this complaint, were in fact material terms of
21   the insurance policy contracts' express terms, implied at law terms and implied in fact terms,
22   including all terms pursuant to Insurance Code section 11580.2 et seq.
23   32.     Defendants, and each of them, failed to, and refused to conduct a reasonable, fair, timely and
24   thorough investigation into the facts and circumstances of the Plaintiff's Business Owners Property
25   Loss claim asserted, but instead wished to and did try to create new "facts," failed to consider the
26   severity of the business losses suffered by Plaintiff when in possession of a more than adequate
27   mountain of plaintiff's good accounting evidence of financial loss and causation; from reputable
28   accountants, to support the seriousness of Plaintiff's losses, wrongfully conspired to deny Plaintiff


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                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 46 of 102 Page ID #:52




 1   benefits due under the insurance policy; and offered no reasonable settlement whatsoever when they
 2   knew the case was worth a significant portion more than of the remaining $3,000,000.00 policy limits
 3   to relieve Defendants, and each of them, from having to pay promptly, fairly and reasonably benefits
 4   under the insurance policy. As a proximate result of the unreasonable, wrongful and bad faith conduct
 5   mentioned above, and by the breach of said insurance policy contract, Plaintiff has suffered mental,
 6   physical, economic, and other damages in an amount to be shown at trial. By engaging in the acts
 7   and omissions alleged throughout this complaint, defendants, and each of them breached the
 8   insurance policy contract terms and the contract's covenant of good faith and fair dealing, in contract:
 9   33. As a direct and proximate result of the breach by Defendants, and each of them, of their.
10   obligations under the insurance policy, Plaintiff has been damaged as follows:
11            a) Plaintiff was forced to proceed with binding arbitration and incur the associated, costs and
12   emotional distress associated with such proceedings, including attorneys and expert fees and he was
13   denied benefits due under the policy in a time of medical need, and physical pain.
14            b) Plaintiff was forced to suffer other economic and consequential damages as referenced
15   herein and throughout this complaint-in an amount to be shown at trial.
16
17                                           THIRD CAUSE OF ACTION
18                                       PROMISSORY FRAUD / DECEIT
19   (Civil Code Sections 1709; 1710(4)); Miller v. National American Life Ins. Co. of California (1976)
20         54 Cal App. 3d. 331; Wetherbee v. United Ins. Co. of America (1968) 265 Cal App. 2d. 932)
21          (As Against ACE PROPERTY AND CASUALTY INSURANCE COMPANY; BILL
22                                        HOLDEN and DOES 1 to 100)
23   34.      Plaintiff herebyincorporates by reference all prior and subsequent paragraphs of this complaint
24   as if set forth in full herein.
25   35.    At the time Defendants, and each of them, entered in the Policy of Insurance Contract, with
26   Plaintiff as an insured, and each time they renewed the policy, Defendants, and each of them,
27   represented to the policy holders and beneficiaries within Defendants' standardized insurance policy
28   contract's express and implied terms, including plaintiff, with regard to underinsured / uninsured


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                                                   COMPLAINT
             Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 47 of 102 Page ID #:53




 1   motorists coverage, that they would do the following in the event of a claim: that Defendants, and
 2   each of them, would pay to the beneficiary sums that the hit and run or underinsured or uninsured
 3   motorist would be obligated to pay to the beneficiary that they would not unreasonably delay
 4   payment of the claim; they would timely, fairly and reasonably investigate the claim; engage in.
 5   claims handling practices that comported with the standard of care and that were reasonable and fair;
 6   they would communicate with plaintiff and discuss reasonable good faith offers given the facts and
 7   evidence; that they would not violate the Covenant of Good Faith and Fair Dealing implicit in the
 8   Policy of Insurance; that they would conduct a timely, proper, fair and complete investigation of the
 9   accident and the injuries and plaintiff's claim; that they would not manufacture a genuine dispute,
10   when no such genuine dispute existed; and they would not, without good cause and a good faith
11   belief, require Plaintiff to arbitrate.
12   36.    In truth and fact at said time, when Plaintiff and other identified insureds entered into the
13   standardized insurance policy contract with defendants and each of them, Defendants did not intend
14   to pay any Plaintiff all sums that the uninsured or underinsured or hit and run motorist would be
15   legally liable to pay, and in truth and fact, Defendants, and each of them, at that time, intended to pay
16   the Plaintiff far less than the sum to which the Plaintiff would be entitled; and in truth and fact,
17   Defendants, and each of them, did not intend to pay reasonably and promptly any sums due Plaintiff,
18   but intended to delay unreasonably any sums to which Plaintiff would be entitled, even including
19   forcing Plaintiff to arbitrate unnecessarily in order to obtain the money which was legitimately due;
20   and in truth and fact, Defendants, and each of them, at that time, intended to violate the Covenant of
21   Good Faith and Fair Dealing implicit in the Policy of Insurance by unreasonably undervaluing the
22   amount due Plaintiff, and by having their agents make unreasonably low settlement offers known as
23   "low ball" and "nuisance value" offers, or no offer at all, and refusing to pay medical payment sums
24   long overdue unless Plaintiff would accept an unreasonably lowball offer as complete settlement; and
25   in truth and fact at said time, Defendants, and each of them, did not intend to conduct a proper and
26   fair investigation, but intended to twist the facts of the accident in favor of Defendants, and each of
27   them; and would use tactics to justify dragging out the claims process and forcing Plaintiff to litigate
28   in Bad Faith to protect his rights under the insurance contract.


                                                        12
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 48 of 102 Page ID #:54




 1   37.     At the times Defendants, and each of them, entered into the standardized Policy of Insurance
 2   Contract, and each date and time they renewed the policy. At all relevant times, defendants, and each
 3   of them, including ACE, undertook obligations under the policy without intent to perform them, thus
 4   misrepresenting defendant insurance carrier and its employees/agents' state of mind within the
 5   policy terms, duties and obligations as promised within the insurance policy. Defendants, and each
 6   of them (including ACE & BILL HOLDEN "ADJUSTER"), by issuing the policy D95321306,
 7   impliedly represents its then-willingness to perform those express and implied contract terms. No
     additional affirmative representations that it will be performed need be shown. Defendants, by
 9   engaging in the wrongful acts and omissions described throughout this complaint, including its
10   claims handling practices, its' post-claim practices related to the claims handling process evidenced
11   through subsequent conduct, including improper claims investigation, processing, evaluation and
12   payment and related delays and deficiencies, by defendants and each of them, au intent not to
13   perform promises under the insurance policy contract. Defendants delayed payment based on
14   inadequate or tardy investigations, oppressive conduct by claims adjusters seeking to reduce the
15   amounts legitimately payable and numerous other tactics, may breach the implied covenant because
16   they frustrate the insured's right to receive the benefits of the contract in `prompt compensation for
17   losses. Defendants and each of them had no intent to perform its express and implied policy
18   contract promises made within the policy terms at the time the policy was drafted, sold and issued
19   to plaintiff/insured. (see, Beck-with v. Dahl (2012)2005 Cal. App. 4th 1039 ["the falsity of fal
20   promise is sufficiently plead with a general allegation the promise was made without intention of
21   performance." (Id. at 1060)]).
22   38.    The nature of fraud and fraudulent deceit involving a standardized fonn adhesion insurance
23   contract or form contract-insurance policy arises from Defendants' that offered to Plaintiff and other
24   named insureds on plaintiffs ACE business insurance policy, and other members of the general
25   public the insurance policy at issue, on a take-it-or-leave-it basis. At all times relevant herein, there
26   was no intent to by the insurer to perform on contractual promises made within the insurance policy .
27   terms at the time the policy was issued to plaintiff and other insureds covered by the policy.      ACE
28   and BILL HOLDEN "ADJUSTER", has engaged in promissory fraudulent deceit under California


                                                        13
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v, Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 49 of 102 Page ID #:55




 1    law pursuant to Miller v. National American Life Ins. Co. of California (1976) 54 Cal App. 3d. 331;
 2    Wetherbee v. United Ins, Co. ofAmerica (1968) 265 Cal App. 2d. 932; Civil Code sections 1709,
 3    1710 subdv. (4) and other California law.
 4    39.     The fraudulent misrepresentations and false promises made by Defendants and each of them,
 5    including BILL HOLDEN "ADJUSTER" at the time the policy was issued to cover Plaintiff and at
 6    each renewal period, were made as express and implied terms and obligations in the insurance policy
 7    and those express and implied at law that become part of the insurance policy. Pursuant to Archdale
 8    v. American Intern. Special Lines Ins. Co. (2007) 154 Cal. App. 4th 449; Comunale v. Traders
 9    General Ins. Co. (1958) 50 Cal. 2d 654, 658-659; Brehm v. 21" Century Ins. Co. (2008) 166 Cal.
10    App. 4th 1225, .California Insurance Code and other California law, these included but are not
11    limited to:
12            a) Obligations and duty by defendants and each of them of an obligation of good faith and
13    fair dealing toward insured, plaintiff;
14            b) An obligation and duty by Defendants, and each of them, would not do anything which
15    would injure the right of insured, plaintiff, to receive benefits of the agreement;
16            c) An obligation and duty by Defendants, and each of them,•to give the interests of the
17    insured, plaintiff, at least as much consideration as it gives to its own interests, when determining
18    whether to settle with insured Plaintiff;
19            e) An obligation and duty of defendants and each of them to communicate with plaintiff to
20    honestly, diligently, fairly, timely, reasonably and thoroughly investigate and. evaluate information
21    available with regard to insured-plaintiffs claim, and make timely and reasonable settlement offers to
22    plaintiff and act reasonably to resolve the claim and affirmative effort to discuss and resolve the
23    plaintiff's claim before an arbitration under the policy was necessary, so as to avoid further costs,
24    expense by plaintiff/insured (see, Brehm v. 21s' Century Ins. Co. (2008) 166 Cal. App. 411' 1225,
25.   142).
26            d) An obligation and duty of defendants, and each of them, to accept a reasonable settlement
27    offer of insured Plaintiff's claim;
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                                                    COMPLAINT
              Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 50 of 102 Page ID #:56




 1           e)   An obligation and duty of defendants, and each of them, to accept a reasonable
 2   settlement offer of insured plaintiff's claim without regard to such factors as the limits imposed by
 3   the policy, a desire to reduce the amount of future settlements or a belief that the policy does not
 4   provide insured/plaintiff coverage.
 5   40.    Based on the existence of these duties and obligations, both express and implied as "promises"
 6   from the insurance carrier within defendant's (non-negotiable, adhesion "form") insurance policy
 7   contract, implied terns and express terms, the insured/plaintiff reasonably and justifiably relied on
 8   these express and implied promises from defendants and each of them, when the policy was first
 9   issued and at each and every renewal period for the plaintiff's policy. The existence of these
10   promises made the adhesive and non-negotiable nature of the Business insurance policy a realistic
11   and reasonable contract to enter within the State of California.
12   41.     Defendants, and each of them, represented within the Policy's express, implied at law and
13   implied in fact policy terms and promises, to the policy holders, named insured's beneficiaries,
14   unnamed beneficiaries and permissive users of a vehicle under the Policy D95321306 (which
15   included plaintiff), With regard to uninsured and underinsured motorist coverage, that Defendants and
16   each of them, would do the following in the event of a claim: that Defendants, and each of them,
17   would pay to the beneficiary sums that the uninsured or underinsured motorist would be obligated to
18   pay to the beneficiary less any sums previously paid by the other motorist and that they would not
19   unreasonably delay payment of the claim; that they would not violate the Covenant of Good Faith
20   and Fair Dealing implicit in the Policy of Insurance; that they would conduct a timely, proper,
21   reasonable and fair investigation of the accident and the injuries; they would retain expert
22   professionals to timely, fairly and reasonably investigate plaintiff's claim KY20K2927210 during the
23   claims handling process, which defendants and each of them were obligated under the insurance
24   policy contract to do; they would negotiate in good faith with plaintiff as to a fair and reasonable
25   settlement offer given the facts and evidence, including facts and evidence that plaintiff provided
26   defendants and each of them; that they would not manufacture a genuine dispute, when no such
27   genuine dispute existed; and they would not, without good cause and good faith belief, require
28   Plaintiff to unnecessarily arbitrate with great financial and emotional cost to plaintiff. In truth and


                                                        15
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 51 of 102 Page ID #:57




 1   fact at said time, Defendants, and each of them, did not intend to pay any Plaintiff all sums the
 2   uninsured or underinsured motorist would be legally liable to pay, and in truth and fact, Defendants,
 3   and each of them, at that time, intended to pay the Plaintiff far less than the sum to which the
 4   Plaintiff would be entitled; and in truth and fact, Defendants, and each of them did not intend to pay
 5   reasonably and promptly any sums due Plaintiff, or to reasonably, fairly, time and in good faith,
 6   perform their duties and obligations pursuant to the terms of the insurance policy contract, but
 7   intended to delay unreasonably any sums to which Plaintiff would be entitled, engage in bad faith,
     unreasonable claims handling practices once a claim was made on the policy as discussed throughout
 9   this complaint, and even including forcing Plaintiff to file a lawsuit in bad faith in order to obtain the
10   money which was legitimately due; and in truth and fact, Defendants, and each of them, at that time,
11   intended to violate the Covenant of Good Faith and Fair Dealing in contract and in tort, implicit in the
12   Policy of Insurance contract by unreasonably undervaluing the amount due Plaintiff, failing.to timely,
13   properly, reasonably and fairly investigate the claim, and by having their agents make unreasonably
14   low settlement offers known as "low ball" and "nuisance value" offers, unless Plaintiff would accept
15   an unreasonably lowball offer as complete settlement; and in truth and fact at said time, Defendants,
16   and each of them, did not intend from the outset, to conduct a proper, timely and fair, complete
17   investigation, or make or communicate any reasonable and fair good faith settlement offers to
18   plaintiff, but intended to retain only expert witnesses for the accident facts, who they knew would
19   attempt to twist the facts of the accident in favor of Defendants, and each of them, and would retain
20   physicians and other experts and expert witnesses, including those identified herein, at a time period
21   indicating defendants' unreasonable, unfair and bad faith Business Property Loss and Personal
22   Property claims handling practices and bad faith conduct, who defendants knew would minimize any
23   of Plaintiffs injuries, even if they knew themselves that they were much greater; and would use the
24   findings of such insincere experts to justify dragging out the claims process and/or forcing an
25   unnecessary lawsuit that would expose plaintiff to much financial cost and emotional stress.
26   42.     Thereafter, pursuant to their intentions to breach the Policy of Insurance, when Plaintiff made
27   his claim for benefits, Defendants, and each of them, in accordance with their scheme to deprive him
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                                                   COMPLAINT
            Los Angeles. Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 52 of 102 Page ID #:58




 1   of the benefits of the policy, did, and omitted to do, the acts described throughout this complaint,
 2   including but not limited to:
 3           a) Refusing to pay Plaintiff the amount the Insurance Company ACE was legally liable to
 4           pay, but offered none of the $3,000,000.00 policy, which Defendants never tendered.
 5           b) Unreasonably delaying, withholding and making offers, and only paying anything.after a
 6           harsh letter from Plaintiffs counsel threating a lawsuit in bad faith;
 7           c) Unreasonably conducting an improper, untimely and unfair investigation, at a timeframe
 8           which also indicated unreasonable, unfair, and bad faith claim investigation and handling and
 9           retention of a claim expert witness investigation who defendants knew were retained only to
10           twist the facts of the accident and wrongfully and unreasonably minimize the severity of
11           Plaintiffs injuries and dispute Business Property and Personal Property Loss liability where
12           no genuine dispute existed (see, Brehm v. 2P Century Ins. Co. (2008) 166 Cal.App. 4th 1225;
13           d) Failing to negotiate in good faith and communicate with plaintiff a fair, reasonable and
14           timely settlement payment offer;
15           e) By failing to settle and pay plaintiffs Business and Personal Property Loss
16           payments claim in a timely and prompt manner and instead withheld payment of these•
17           claim benefits until plaintiff had sent Defense a letter threatening a Bad Faith Law Suit;
18           f) Unreasonably, willfully and intentionally investigate, evaluate and handle and discuss
19           plaintiffs claim so that no agreement to settle the claim before the cost and expense of a Bad
20           Faith Law suit would be imposed on plaintiff, would be realistically possible (see, Brehm v.
21           2? Century Ins. Co. (2008) 166 Cal.App. 4th 1225, 1242);
22           g) Forcing an unnecessary and costly Bad Faith Lawsuit on Plaintiff when they knew that
23           Plaintiff was entitled to most or all the remaining policy limits of $3,000,000.00.
24           h) Refusing to timely, fairly and reasonably pay Plaintiff all of his no-fault, buSiness loss
25           payment benefits under the policy.
26   43. All such aforementioned acts, omissions and representations constituted "fraudulent deceit" as
27   defined in Civil Code sections 1709 and 1710(4) and California case law. Defendants and each of
28   them, willfully deceived Plaintiff, with intent to induce Plaintiff to alter hiS position so as to buy,


                                                        17
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 53 of 102 Page ID #:59




 1   accept and/or rely on the Defendants' insurance policy contract terms, obligations, duties and
 2   coverage during his time of calamity, which was offered by Defendants and each of them, to protect
 3   plaintiff and other insureds within the insurance policy contract, pursuant to the express, implied in
 4   fact and implied at law policy terms and promises of the policy and assuming such terms, promises
 5   and obligations stated throughout this complaint would be carried out as stated in the insurance policy
 6   contract and those terms, promises, duties and obligations required by Insurance Code Sections
 7   11580.2, et seq., 790.03 et seq., and other California law.
 8   44.     Pursuant to Civil Code sections 1710(4) and 1709, Miller v. National American Life his. Co.
 9   of California (1976) 54 Cal App. 3d. 331; Wetherbee v. United Ins. Co. ofAmerica (1968) 265 Cal
10   App. 2d. 932, Defendants, and each of them including BILL HOLDEN "ADJUSTER" made "false
11   promises" in the standardized insurance policy contract because Defendants, and each of them,
12   en₹ered into the agreement each time, including prior to and on October 15, 2018 (date the insurance
13   policy went into effect), to follow the policy's terms and obligations of the agreement but instead,
14   actually had the intention of performing only to the extent that would be to Defendants' benefit
15   such that Defendants intended the contract be carried only in such ways as to be to the
16   Insurance Company and Defendants' benefit and not in such ways to be to the policy
17   holders/insured's benefit. Thus Defendants, and each of them, through the insurance policy
18   contract, made promises, to Plaintiff and other identified insureds, without any intention of
19   performing them each time they renewed the insurance policy.
20   45.      The aforementioned insurance policy contract's promises and representations to Plaintiff and
21   other identified policy insureds, by Defendants, and each of them, were deceptive and in fact false
22   and untrue when made to Plaintiff and the other insureds named as referenced with the insurance
23   policy contract prior to and at the time of policy issuance.
24   46.     The aforementioned promises and representations by Defendants, and each of them, were in
25   fact material.
26   47.    Defendants and each of them knew the promises and representations were false and untrue
27   when they were made within the policy contract terms and obligations both express and implied, and
28   would never be carried out in compliance with the insurance policy contract implied and express


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                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 54 of 102 Page ID #:60




 1   terms. At all times relevant herein, Defendants, and each of them including BILL HOLDEN
     "ADJUSTER" and. ACE, engaged in an absolute unwillingness even to attempt (a promised)
 3   performance. Defendants made the promises and representations intentionally and willfully:
 4   Defendants, and each of them, misrepresented their own state of mind at the time the promises and
 5   representations were made within the insurance policy contract as both express and implied within
 6   the policy language and obligations under California law. 50.        Pursuant to Miller v. National
 7   American Life Ins. Co. (1976) 54 Cal. App. 3d 331, at all times defendants and each of them acted to
 8   induce plaintiff/insured to alter his position and enter the insurance policy contract and renewal of
 9   such policy contract. Plaintiff/insured did change his position to his detriment in reliance on the
10   policy promises. Such reliance was reasonable by plaintiff/insured. At all times the defendants'
11   making of the policy promises within the policy contract were with an intent to deceive
12   plaintiff/insured.   At all times the defendants' making of the insurance policy contract promises
13   were made with the intent to induce the plaintiff/insured to whom it was made within the policy
14   contract. to enter into the transaction and pay for the insurance policy contract and renew such
15   policy contract each and every time the policy was up for renewal.
16   48;    All fraudulent deceit and false promises arose out of the implied and express terms of the
17   adhesive insurance policy contract entered into between plaintiff/insured and defendant, ACE and
18   Does 1 to 100.
19   49.    Plaintiff and other identified insureds on the insurance policy contract, reasonably and/or
20   justifiably relied on the promises and representations of Defendants, and each of them, when plaintiff
21   and other identified insureds within the policy, to his detriment, considered purchasing or renewing
22   the insurance policy contract and did purchase and renew the policy to cover him for business losses
23   losses, with defendants .and each of them.
24   5.0.    Plaintiff was proximately caused detriment, damage and loss in that he paid policy premiums
25   and in return defendants, and each of them, did not perform on their contractual promises and
26   representations.
27   51.    Defendants knew their promises, representations, duties and obligations under the insurance
28   policy contract and those implied in the contract, both in fact, and under California law, including but


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                                                  COMPLALNT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 55 of 102 Page ID #:61




 1   not limited to Insurance Code section 11850.2 et seq., but failed to disclose and/or concealed that
     Plaintiff and other identified insureds would be subjected to wrongful, tortious, fraudulent, malicious
 3   and oppressive intentional and willful failure to perform and deliver on the contractual duties and
 4   promises at the time plaintiff entered into the insurance policy contract with defendants and each of
 5   them, including prior to and on or about March 17, 2020 (the active start date of the Business Owners
 6   insurance policy and coverage at issue).
 7   52.     Further, the standardized Business insurance policy contract was an adhesion contract as
 8   defined under California law. The insurance policy contract was offered on a "take it or leave it
 9   basis," to plaintiff and other policy identified insureds, as well as including the general public.
10   Plaintiff and other insureds on the policy were members of the general public who were offered this
11   insurance policy contract by defendants and each of them (including ACE).         Plaintiff and other
12   insureds, as well as the general public, were not in a position or could negotiate the terms of the
13   insurance policy agreement. Plaintiff and other insureds were compelled to adhere to all of the
14   policy's terms and conditions as drafted by ACE. At all times relevant therein plaintiff and other
15   insureds, on the policy nor other members of the general public, were entitled to nor could alter or
16   modify the terms of the ACE Business insurance policy by face to face negotiations or otherwise:
17   53.     The BUSINESS OWNERS PROPERTY LOSS AND PERSONAL PROPERTY LOSS
18   insurance policy the terms of the insurance policy agreement were nearly identical to all other entities
19   that offer similar business insurance policy coverage, thus there were no other reasonable insurance
20   policy coverage alternatives in the marketplace.
21   54.    At all times, by the mere issuance of the insurance policy to plaintiff/insured, defendants
22   and Does 1 to 100, as the insurer, impliedly represented its willingness to perform under the
23   policy express and implied terms. No additional, affirmative representation that it will perform
24   need be shown between plaintiff and defendants. Miller v. National American Life Ins. Co. of
25   Calif. (1976) 54 Cal.App.3d 331, 338.
26   55.    As a direct and proximate result of the false promises, fraudulent deceit and concealment by
27   Defendants, and each of them, of their obligations under the insurance policy contract, Plaintiff has
28   been damaged as follows:


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                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
      Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 56 of 102 Page ID #:62




  1           a) Plaintiff was forced to proceed with binding arbitration and incur the associated costs
 2    and emotional distress associated with such proceedings including attorneys and expert fees and
 3    he was denied benefits due under the policy in a time of medical need, and physical pain;
 4            b) Plaintiff was forced to suffer other economic and consequential damages as referenced herein
 5    and throughout this complaint in an amount to be shown at trial.
 6    56.      At all times relevant herein, defendants and each of them, intended to injure, harm and damage
 7    plaintiff.   Defendants, and each of them, intended the consequences described throughout this
 8    complaint and that were substantially certain to result from its conduct, acts and omissions.
 9    57.      The conduct of Defendants, and each of them, described in this complaint of deliberately and
10    calculatingly failing to provide the compensation which they knew was due to Plaintiff, scheming to
11.   conspire and defraud Plaintiff, and committing actual fraudulent deceit against Plaintiff, and further
12    intentionally inflicting emotional distress upon Plaintiff, offering no settlement at all in light of
13    compelling medical evidence supporting that Plaintiff was entitled to the full policy benefits, while
14    well knowing their policy holder and insured was entitled to policy limits constitutes malice, fraud
15    and oppression under California Civil Code section 3294 and Delgado v. Heritage .Life
16    Co.,(1984) 157 Cal. App. 3d 262, .in that it was done with the intent to vex, injure, or annoy and with
1.7   willful and conscious disregard of the Plaintiff's rights and safety of plaintiff and deliberately in bad
18    faith, to deny him the prompt, and reasonable policy claim benefits to which he was entitled under the
19    insurance policy. Defendants, and each of them, were aware of the consequences of its' conduct,
20    acts, omissions and representations and willfully and deliberately failed to avoid these consequences
21    to plaintiff/insured's detriment, damages and loss. Defendants' acts, omissions and representations
22    showed a conscious course of conduct, firmly grounded in established company policy. Further
23    defendants engaged in oppression in that they subjected plaintiff/an insured to cruel and unjust
24    hardship in conscious disregard of his rights.
25    58.     The acts, omissions and representations were all despicable. Defendants, and each of them
26    conduct, acts, omissions and representations were mean, vile, base or contemptible that it would be
27    looked down upon and despised by reasonable people. At all relevant times, Defendants, and each of
28    them, including insurance company's agents, employees, officers, directors and managing agents had


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                                                   COMPLAINT
             Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 57 of 102 Page ID #:63




 1   adVanced knowledge of their employees; contractors, agents, managing agents, officers, directors
     unfitness and acted with a conscious diSregard of the rights and safety of plaintiff/an insured. At all.
 3   relevant times, Defendants, and each of them, including insurance company's agents, employees,
 4   officers, directors and managing agents acted with and had advanced knowledge of their employees,
 5   contractors, agents, managing agents, officers, directors acts, omissions and representations or
 6   thereafter ratified the wrongful, intentional, willful, unreasonable, reckless, careless, negligent,
 7   oppressive, malicious, fraudulent, tortious and bad faith acts, omissions and representations of the
 8   wrongful conduct, acts, omissions and representations of defendants and each of them, as described
 9   throughout this complaint and/or ratified such wrongful acts, omissions and representations.
10   59.    All the aforesaid acts, omissions and representations were performed in an effort to discourage
11   Plaintiff from seeking the compensation due to him at a time Defendants, and each of them, knew
12   that the Plaintiff was financially vulnerable, and during his time of calamity. Thus, Plaintiff is entitled
13   to punitive and exemplary damages pursuant to Civil Code section 3294 and other California law, in
14   an amount appropriate to punish and make an example of Defendants, and each of them.
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                                                        22
                                                  COMPLAINT
            Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty.Insurance Company, et'al.
     Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 58 of 102 Page ID #:64




 1                                                PRAYER
 2   WHEREFORE, Plaintiff prays for damages as against Defendants, and each of them, as follows:

 3                 A. For general pecuniary and compensatory damages for breach of the implied
 4                      covenant of good faith and fair dealing including, but not limited to, injuries
 5                      resulting from humiliation, mental anguish and emotional distress and
 6                      litigation expenses and costs according to proof;
 7                 B. For compensatory and consequential damages according to proof for breach
                        of contract;

 9                 C. For compensatory and consequential damages according to proof on, all
10                      accounts;

11                 D. For reasonable attorneys' fees in obtaining policy benefit incurred herein; for
12                      reasonable additional attorneys' fees; expert witness fees; incurred in the hit

13                      and run motorist litigation arising from the breach of covenant of good faith
14                      and fair dealing in tort (bad faith) cause of action;

15                 E. For prejudgment interest in an amount to be proved at time of trial;

16                 P. For costs of suit incurred herein;

17                 G. For punitive and exemplary damages in an amount sufficient to punish, deter
18                      and make an example of Defendants, and each of them, as to the breach of the

19                      covenant of good faith and fair dealing in tort (bad faith) cause of action;

20                 H'. For punitive and exemplary damages in an amount sufficient to pUnish, deter.

21                      and make an example of Defendants,. and each of them as to the fraud cause
22                      of action.

23                 I.   For such other and further relief as this Court May deem just and proper.

24   Dated: June 11, 2021                          LAW OFFICES O.               E J. GO 4 SMAN

25
26                                                     By:
                                                                Gene J. Go dsman, Esq.
27
                                                                Attorney for Plaintiffs,
28                                                         LOS ANGELES LAUNDRY, Inc., et al.


                                                       23
                                                 COMPLAINT
           Los Angeles Laundry, Inc., et al. v. Ace Property And Casualty Insurance Company, et al.
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 59 of 102 Page ID #:65




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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 60 of 102 Page ID #:66




POLICY NUMBER: D95321306                                                                    BUSINESSOWNERS
                                                                                                BP 12 01 08 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  BUSINESSOWNERS POLICY CHANGES
THIS ENDORSEMENT FORMS A PART OF THE POLICY NUMBERED BELOW.

 POLICY NUMBER                   POLICY CHANGES EFFECTIVE              COMPANY
 D95321306                       12-02.2020                            ACE Property And Casualty Insurance
                                                                       Company
 NAMED INSURED                                                         AUTHORIZED REPRESENTATIVE
 LAUNDRY LOS ANGELES, INC                                              Internal Users
                                                    CHANGES
 Effective 12/2/2020 amend the Business Personal Property/ impervements & Betterments for location 1,
 Building! to: $3,000,000 and for building 2: $5,000,000




                             POLICY AMOUNT AND PREMIUM ADJUSTMENT
                          Limits Of Insurance         Premiums
                                                                                           X   MO Premium
     Coverage        Previous Limit New Limit           Previous             New
    Description       Of insurance Of Insurance         Premium            Premium             Return Premium
Business Personal    $ 1,200,000     $ 3,000,000     $ 5,328            $ 11,453           $ 6,125
Property /
Improvements &
Betterments only
Location #1,
Building #1

Business Personal    $ 500,000       $ 5,000.000     $ 2,520            $ 17,588           $ 15,068
Property /
Improvements &
Betterments only
Location #1,
Building #2


OPTIONAL COVERAGES
The   following   optional     coverages    are    added       under     this   policy X   Addi Premium
when designated by an "X" in the box(es) shown below.
                                                                                           Return Premium

                                                   Limits Of Insurance
     Outdoor Signs                       $                                            $
     (LocatIon#1)




BP 12 01 08 10                      © Insurance Services Office, Inc., 2009                           Page '1 of 2
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 61 of 102 Page ID #:67




     Burglary and Robbery                                                              $
     (Named Peril Endorsement only) $                        Inside the Premises

                                          $                  Outside the Premises

     Or

     Money and Securities                 S                  Inside the Premises       $

                                          $                  Outside the Premises
     Employee Dishonesty                  S                  each occurrence           $
     Equipment Breakdown                  $                                            $
     (Location #1, Building #1)
     Equipment Breakdown                  $                                            $
     (Location #1, Building #2)



                                      TOTAL PREMIUM ADJUSTMENTS

                          PREMIUM DUE AT POLICY CHANGE EFFECTIVE DATE

                           ADDITIONAL                                       RETURN

                          $ 6,490                                           $

 REMOVAL      If Covered Property is removed to a new location that Is described on this Policy Change, you may
 PERMIT       extend this insurance to include that Covered Property at each location during the removal.
              Coverage at each location will apply in the proportion that the value at each location bears to the
              value of all Covered Property being removed, This permit applies up to 10 days after the effective
              date of this Policy Change: after that, this insurance does not apply at the previous location.



Authorized Representative Signature




Page 2 of 2                         © Insurance Services Office, Inc., 2009                      BP 12 01 08 10     CI
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 62 of 102 Page ID #:68




                 BUSINESSOWNERS LIABILITY ENHANCEMENTS ENDORSEMENT
 Named Insured                                                                     Endorsement Number
 LAUNDRY LOS ANGELES, INC                                                          BOP47635a0718
 Policy Symbol     I Poky Number               Policy Period                       Effective Date of Endorsement
 SER               1 D95321306                 03-17-2020 to 03-17-2021            12.02-2020
 Issued By (Name of Insurance Company)
 ACE Property And Casualty Insurance Company

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    This endorsement modifies insurance provided under the following:

                                         BUSINESSOWNERS COVERAGE FORM

                                                    TABLE OF CONTENTS
                                                                                                                     Page I
Supplementary Payments — Bail Bonds And Bonds To Appeal Judgments — No Sublimit                                        2
Medical Expenses — Three Years To Report Expenses                                                                      2
Non-Owned Watercraft Under 55 Feet                                                                                     2
Non-Owned Aircraft                                                                                                     2
Damage To Property -- Exception For Equipment Loaned Or Rented To Insured                                              2
Who Is An Insured — Subsidiaries Or Newly Acquired Or Formed Organizations                                             3
Who Is An Insured — Employees (Including For CPR and First Aid) And Volunteer Workers                                  3
Additional Insured — Lessor Of Leased Equipment                                                                        4
Additional Insured — Managers Or Lessors Of Premises                                                               1   4
Additional Insured - Vendors                                                                                           5
Additional Insured- Other Persons Or Organizations Pursuant To Contract Or Agreement                                   6
Damage To Premises Rented To You — $1,000.000                                                                          7
Per Location General Aggregate Limit With Combined Total Aggregate Limit                                           I   8
Knowledge/Notice Of Occurrence                                                                                        9
Bodily Injury, Including. Resulting Mental Anguish                                                                    9
Coverage Territory, Limited Worldwide                                                                                 10
Personal Injury, Including Discrimination, Harassment And Segregation                                                 10
Unintentional Failure To Disclose Hazards                                                                             10
Other Insurance, including Primary Provision                                                                          10
Waiver Of Subrogation Required By Contract                                                                            11


This endorsement modifies the coverages provided under the Businessowners Coverage Form.

Notwithstanding anything to the contrary, the provisions of the Businessowners Coverage Form apply, except as
provided in this endorsement. The titles of the various paragraphs of this endorsement are inserted solely for
convenience or reference and are not to be deemed in any way to limit or affect the provisions to which they
relate.
A. SUPPLEMENTARY PAYMENTS — BAIL BONDS AND BONDS TO APPEAL JUDGMENTS - NO SUBLIMIT

         In Section II - Liability, Paragraph A. Coverages, 1. f. Coverage Extension — Supplementary
         Payments, subparagraphs (1)(b) and (c) are replaced by the following:

         (b) The cost of bail bonds, but only for bond amounts within the available limit of insurance. We do not
             have to furnish these bonds.



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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 63 of 102 Page ID #:69




        (c) The cost of bonds to appeal judgments or release attachments, but only for amounts within the
            available limit of insurance. We do not have to furnish these bonds.

B. .MEDICAL EXPENSES - THREE YEARS TO REPORT EXPENSES

        in Section II - Liability, Paragraph A. Coverages, 2. Medical Expenses, subparagraph a.(b) is
        replaced by the following:

        (b) The expenses are incurred and reported to us within three years of the date of the accident; and

C. NON-OWNED WATERCRAFT UNDER 55 FEET

        in Section II - Liability, Paragraph B. ExcluSionS, subparagraph (2) of Exclusion 1.g. Aircraft, Auto Or
        Watercraft is replaced by the following;

        This exclusion does not apply to:

        (2) A watercraft you do not own that is:

              (a)    Less than 55 feet long; and

              (b)    Not being used to carry persons or property for a charge;

D. NON-OWNED AIRCRAFT

        In Section II - Liability, Paragraph B. Exclusions, the following exception is added to Exclusion 1.g.
        Aircraft, Auto or Watercraft in Section II - Liability:

        This exclusion does not apply to an aircraft you do not own provided;

       1, The pilot in command holds a currently effective certificate, issued by the duly constituted authority of
          the United States of America or Canada, designating that person as a commercial or airline transport
          pilot;

       2. It is rented with a trained, paid crew; and

        3. It does not transport persons or cargo for a charge.

E. DAMAGE TO PROPERTY EXCEPTION FOR EQUIPMENT LOANED OR RENTED TO THE INSURED

       In Section II - Liability, Paragraph B. Exclusions, the following exception is added to Exclusion 1.k.
       Damage To Property:

       Paragraphs (3) and (4) of this exclusion do not apply to 'properly damage" to equipment rented or loaned
       to the insured, provided such equipment is not being used to perform any operations at a construction job
       site.

F. WHO IS AN INSURED - SUBSIDIARIES OR NEWLY ACQUIRED OR FORMED ORGANIZATIONS

       In Section II - Liability, Paragraph C. Who is an Insured is amended to include the following:

       if there is no other insurance available, each of the following is also a Named Insured:




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 64 of 102 Page ID #:70




        1. A subsidiary organization of the first Named Insured shown in the Declarations of which, at the
           beginning of the policy period and at the time of loss, the first Named Insured controls, either directly
           or indirectly, more than 50 percent of the interests entitled to vote generally in the election of the
           governing body of such organization; or

        2. A subsidiary organization of the first Named Insured shown in the Declarations that the first Named
           Insured acquires or forms during the policy period, if at the time of loss the first Named Insured
           controls, either directly or indirectly, more than 50 percent of the Interests entitled to vote generally in
           the election of the governing body of such organization,

G. WHO IS AN INSURED - EMPLOYEES (INCLUDING CPR AND FIRST AID) AND VOLUNTEER WORKERS

        In Section II - Liability, Paragraph C. Who is an Insured, Paragraph 2.a. is replaced by the following

        2. Each of the following is also an insured:

            a. Your "employees" but only for acts within the scope of their employment by you or while
                performing duties related to the conduct of your business. However, no *employee" is an insured
                for:

                 (1)"Bodily injury" or "personal and advertising injury":

                      (a) To you, to any of your directors, managers, members, "executive officers" or`Partners
                          (whether or not an "employee") or to any co-"employee while such Injured person is
                          either in the course of his or her employment or while performing duties related to the
                          conduct of your business;

                      (b) To the brother, child, parent, sister or spouse of such injured person as a consequence
                          of any injury described in Paragraph (a) above; or

                      (c) For which there is any obligation to share damages with or repay someone else who
                          must pay damages because of any injury described in Paragraph (a) or (b) above.

                      With respect to "bodily injury" only, the limitations described in Paragraph 2.a.(1) above do
                      not apply to you or to your directors, managers, members, "executive officers", partners or
                      supervisors as insureds. The limitations also do not apply to your "employees" as insureds,
                      with respect to such damages caused by cardiopulmonary resuscitation or first aid services
                      administered by such an "employee".

                (2) "Property damage" to any property owned, occupied or used by you or by any of your
                    directors, managers, members, "executive officers" or partners (whether or not an
                    "employee") or by any of your "employees". This limitation does not apply to "property
                    damage" to premises while rented to you or temporarily occupied by you with the
                    permission of the owner,

           b. Your "volunteer workers", but only while acting within the scope of their activities for you and at
               your direction.

H. ADDITIONAL INSUREDS

       In Section II - Liability, Paragraph C. Who is an Insured, the following is added:

       2. Each of the following is also an insured:




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 65 of 102 Page ID #:71




        LESSOR OF LEASED EQUIPMENT

             Any person or organization from whom you lease equipment, but only with respect to liability for
             °bodily injury", "property damage" or "personal and advertising Injury" caused, in whole or in part, by
             your maintenance, operation or use of equipment leased to you by such person or organization and
             only if you are required by a contract or agreement to provide them with such insurance as is
             afforded by this policy,

             However, the Insurance afforded to such additional insured:

             (1) Only applies to the extent permitted by law; and

             (2) Will not be broader than that which you are required by the contract or agreement to provide for
                   such additional insured.

             With respect to the insurance afforded to these additional insureds, this insurance does not apply to
             any "occurrence" which takes place after the equipment lease expires.

        MANAGERS OR LESSORS OF PREMISES

        f.   Any person or organization from whom you lease premises, but only with respect to liability arising
             out of the ownership, maintenance or use of that part of the premises leased to you and only if you
             are required by a contract or agreement to provide them with such insurance as is afforded by this
             policy.

             However, the insurance afforded to such additional insured:

             (1) Only applies to the extent permitted by law; and

             (2) Will not be broader than that which you are required by the contract or agreement to provide for
                 such additional insured.

             With respect to the insurance afforded to these additional insureds, the following additional
             exclusions apply:

             This insurance does not apply to:

             (1) Any 'occurrence' that takes place after you cease to be a tenant fn such premises.

             (2)Structural alterations, new construction or demolition operations performed by or for such
                 additional insureds.


       VENDORS

        g.   Any person or organization who is a vendor of "your products", but only with respect to "bodily
             injury" or "property damage" arising out of "your products° which are distributed or sold in the
             regular course of the vendor's business.

             However:

             (1) The insurance afforded to such vendor only applies to the extent permitted by law; and

             (2) If coverage provided to the vendor is required by a contract or agreement, the



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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 66 of 102 Page ID #:72




                     insurance afforded to such vendor will not be broader than that which you are required by the
                     contract or agreement to provide for such vendor.

              With respect to the insurance afforded to these vendors, the following additional exclusions apply:

              (1) This insurance afforded the vendor does not apply to:

                     (a) "Bodily injury° or "property damage's for which the vendor is obligated to pay damages by
                         reason of the assumption of liability in a contract or agreement. This exclusion does not
                         apply to the liability for damages that the vendor would have In the absence of the
                         contract or agreement;

                     (b) Any express warranty unauthorized by you;

                     (c) Any physical or chemical change in the product made intentionally by the vendor;

                     (d) Repackaging, except when unpacked solely for the purpose of inspection, demonstration,
                         testing or the substitution of parts under instructions from the manufacturer, and then
                         repackaged in the original container;

                     (e) Any failure to make such inspections, adjustments, tests or servicing as the vendor has
                         agreed to make or normally undertakes to make in the usual course of business, in
                         connection with the distribution or sale of the products;

                     (f)   Demonstration, installation, servicing or repair operations, except such operations
                           performed at the vendor's premises in connection with the sale of the product;

                     (g) Products which, after distribution or sale by you, have been labeled or relabeled or used
                         as a container, part or ingredient of any other thing or substance by or for the vendor; or

                     (h) "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its
                         own acts or omissions or those of its employees or anyone else acting on its behalf.
                         However, this exclusion does not apply to:

                           (I) The exceptions contained in Subparagraph'(d) or (f); or

                           (ii) Such Inspections, adjustments, tests or servicing as the vendor has agreed to make
                                 or normally undertakes to make in the usual course of business, in connection with
                                 the distribution or sale of the products.

             (2) This insurance does not apply to any insured person or organization from whom you have
                 acquired such products, or any ingredient, part or container entering into, accompanying or
                 containing such products.

             With respect to the insurance afforded to these vendors, the following is added to Paragraph D.
             Liability And Medical expenses Limits Of Insurance:

             if coverage provided by the vendor is required by a contract or agreement, the most we will pay on
             behalf of the vendor is the amount of insurance:

             (1)      Required by the contract or agreement; or

             (3)      Available under the applicable Limits Of Insurance shown in the Declarations;




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 67 of 102 Page ID #:73




               whichever is less.

               This shall not increase the applicable Limits Of Insurance shown in the Declarations.

        OTHER PERSONS OR ORGANIZATIONS PURSUANT TO CONTRACT OR AGREEMENT

        h.     Any persons or organizations that you are required by a contract or agreement to provide with such
               insurance as is afforded by this policy. However, such a person or organization is an insured only:

               (1)   To the extent such contract or agreement requires the additional insured to be afforded status
                     as an insured: and

               (2)   For activities that did not occur, in whole or in part, before the execution of the contract or
                     agreement.

               No person or organization is an insured under this provision:

               (1)   That is more specifically identified under any other provision of Paragraph C. Who Is An
                     Insured (regardless of any limitation applicable thereto).

               (2)   With respect to any assumption of liability in a contract or agreement. This limitation does not
                     apply to the liability for damages the additional insured would have in the absence of the
                     contract or agreement.

               However, the insurance afforded to such persons or organizations:

               (1)   Only applies to the extent permitted by law; and

               (2)   Will not be broader than that which you are required by the contract or agreement to provide
                     for such additional insured.

       The following is added at the end of Paragraph C. Who Is An Insured:

       No person or organization is an insured with respect to the conduct of any current or past partnership, joint
       venture or limited liability company that is not shown as a Named Insured in the Declarations.

       However, no person or organization is an insured with respect to the:

       a.      Ownership, maintenance or use of any assets; or

       b.    Conduct of any person or organization whose assets, business or organization;

      any Named Insured acquires, either directly or indirectly, for any:

       (1) "Bodily injury" or "property damage that occurred; or

       (2) "Personal and advertising injury" arising out of an offense first committed;

      in whole or in part, before such acquisition is executed.

      With respect to the insurance afforded to the persons or organizations described in Paragraphs e., f.,. and
      h. above, the following is added to Paragraph D. Liability And Medical Expenses Limits Of Insurance:

      The most we will pay on behalf of such person or organization is the amount of insurance:



BOP-47635a (07/16)    Includes copyrighted material of Insurance Services Office, with its permission, 2016.   Page 6 of 11
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 68 of 102 Page ID #:74




       (1) Required by the contract or agreement; or

       (2) Available under the applicable Limits Of Insurance shown in the Declarations;

       whichever is less.

       This shall not increase the applicable Limits Of Insurance shown in the Declarations.

I.   DAMAGE TO PREMISES RENTED TO YOU — $1,000,000

       In Section II - Liability, Paragraph D. Liability and Medical Expenses Limits of Insurance, Paragraphs
       3, and 4. are deleted and replaced with the following:

        3. Subject to the Liability And Medical Expenses Limits Of Insurance, the most we will pay under
           Business Liability Coverage for damages because of "property damage" to any one premises while
           rented to you or while temporarily occupied by you with permission of the owner is $1,000,000.

        4. Aggregate Limits

           The most we will pay for:

            a. Ail "bodily injury" and "property damage" that is included in the "products-completed operations
               hazard" is twice the Liability and Medical Expenses limit.

           b. All:

                (1) "Bodily injury" and "property damage" except damages because of `bodily injury" or "property
                    damage" included In the "products-completed operations hazard";

                (2) Plus medical expenses;

                (3) Plus all "personal and advertising injury" caused by offenses committed;

                is twice the Liability and Medical Expenses Limit.

              The Limits of Insurance of Section II — Liability apply separately to each consecutive annual period
              and to any remaining period of less than 12 months, starting with the beginning of the policy period
              shown in the Declarations, unless the policy period is extended after issuance for an additional
              period of less than 12 months. In that case, the additional period will be deemed part of the last
              preceding period for purposes of determining the Limits of Insurance.

J. PER LOCATION GENERAL AGGREGATE LIMIT WITH COMBINED. TOTAL AGGREGATE LIMIT

       In Section II - Liability, Paragraph D. Liability and Medical Expenses Limits of Insurance, the
       following is added:

       1. Subject to the Combined Total Aggregate Limit shown in the Declarations, for the sum of all damaoes
          that the insured becomes legally obligated to pay for all "bodily injury" arid "property damage" caused
          by "occurrences" under Paragraph A.1. Business Liability, and for all medical expenses caused by
          accidents under Paragraph A.2. Medical Expenses, which can be attributed only to a single
          "location":




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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 69 of 102 Page ID #:75




             a. A separate Location General Aggregate Limit will apply to each "location", and that limit is equal
                   to the Other than Products/Completed Operations Aggregate Limit shown in the Declarations.

             b. The separate Location General Aggregate Limit is the most we will pay for the sum of all
                  damages for "bodily injury" or "property damage" under Paragraph A.1. Business Liability,
                  except in connection with "bodily injury" or "property damage" included in the "products-
                  completed operations hazard", and for medical expenses under Paragraph A.2. Medical
                  Expenses; regardless of the number of:
                  (1) Insureds;
                  (2) Claims made or "suits" brought; or
                  (3) Persons or organizations making claims or bringing "suits".
             c.   Any payments made under Paragraph A.1. or under Paragraph A.2. Medical Expenses shall
                  reduce the separate Location General Aggregate Limit for that "location". Such payments shall
                  not reduce the Other Than Products/Completed Operations Aggregate Limit shown in the
                  Declarations nor shall they reduce the separate Location General Aggregate Limit for any
                  other "location".

             d. The limits shown in the Declarations for Each Occurrence, Damage To Premises Rented To You
                  and Medical Expense continue to apply. However, instead of being subject to the Other Than
                  Products/Completed Operations Aggregate Limit shown in the Declarations, such limits will be
                  subject to the applicable separate Location General Aggregate Limit,

        2. Subject to the Combined Total Aggregate Limit shown In the Declarations, for the sum of all damages
           that the Insured becomes legally obligated to pay for all "bodily injury" or "property damage" caused
           by occurrences under Paragraph A.1. Business Liability and for all medical expenses caused by
           accidents under Paragraph A.2., which cannot be attributed only to operations at a single "location".

             a. Any payments made under Paragraph A.1. Business Liability for damages or under Paragraph
                  A.2. for medical expenses shall reduce the amount available under the Other Than
                  Products/Completed Operations Aggregate Limit or the Products/Completed Operations
                  Aggregate Limit, whichever is applicable; and

             b. Such payments shall not reduce the separate Location General Aggregate Limit applicable to a
                     single "location".
        3,    Subject to the separate Location General Aggregate Limit and all other applicable limits, the
              Combined Total Aggregate Limit shown in the Declarations is the most we will pay for the combined
              sum of amounts described above, regardless of the number of "locations".
       4.     Any payments we make for "bodily injury" or "property damage" included in the "products-completed
              operations hazard" will reduce.the Products-Completed Operations Aggregate Limit regardless of
              the number of "locations", and not reduce the Other Than Products/Completed Operations
              Aggregate Limit nor the separate Location General Aggregate Limit applicable to a single "location."
       5,     As used In this endorsement, "location" means premises involving the same or connecting lots, or
              premises whose connection Is interrupted only by a street, roadway, waterway or right-of-way of a
              railroad,
       6.     The provisions of Paragraph D. Liability and Medical Expenses Limits Of Insurance not
              otherwise modified by this endorsement shall continue to apply as stipulated.

K. KNOWLEDGE/NOTICE OF OCCURRENCE

       in Section Ii • Liability, Paragraph E. Liability and Medical Expenses General Conditions, 2. Duties
       In the Event Of Occurrence, Offense, Claim or Suit is amended to include the following:




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 70 of 102 Page ID #:76




        e.    Knowledge of an "occurrence" or offense by an agent or "employee" of the insured will not constitute
              knowledge by the insured, Unless an "executive officer" (whether or not an "employee") of any
              insured or an "executive officer's" designee knows about such °occurrence' or offense. Failure of an
              agent or "employee" of the insured, other than an "executive officer" (whether or not an "employee")
              of any insured or an "executive officers" designee, to notify us of an "occurrence" or offense that
              such person knows about will not affect the insurance afforded to you.

        f.   If a claim or loss does not reasonably appear to involve this insurance, but it later develops into a
             claim or loss to which this insurance applies, the failure to report it to us will not violate this condition,
             provided the insured gives us immediate notice as soon as the insured is aware that this insurance
             may apply to such loss or claim,

L. BODILY INJURY, INCLUDING RESULTING MENTAL ANGUISH

        in Section ti • Liability, Paragraph F. Liability and Medical Expenses Definitions, paragraph 3, is
        deleted and replaced with the following:
        3. "Bodily injury" means physical:

             a. Injury;

             b. Sickness; or

             c, Disease;

             sustained by a person, including resulting death, humiliation, mental anguish, mental injury or shock
             at any time. All such loss shall be deemed to occur at the time of the physical injury, sickness or
             disease.

M, COVERAGE TERRITORY, LIMITED WORLDWIDE

       In Section II - Liability, Paragraph F. Liability and Medical Expenses Definitions, paragraph 4, is
       deleted and replaced by the following:

       4. "Coverage territory" means all parts of the world.

       However, "coverage territory" does not include any:

             a. "Bodily injury" or "property damage" that takes place or any offense committed outside of the
                United States of America (including its possessions and territories), Canada and Puerto Rico,
                unless the insured's responsibility to pay damages is determined by a "suit" on the merits that is
                brought in the United States of America (including its possessions end territories), Canada or
                Puerto Rico; or

             b. Injury or damage in connection with any "suit" brought outside the United States of America
                (including its possessions and territories), Canada and Puerto Rico.

N. PERSONAL INJURY, INCLUDING DISCRIMINATION, HARASSMENT AND SEGREGATION

       In Section II - Liability, Paragraph F. Liability and Medical Expenses Definitions, paragraph 14. is
       amended to include the following:

       h. Discrimination, harassment or segregation based on a person's age, color, national origin, race,
          religion or sex unless committed by or at the direction of any "executive officer", director, stockholder,
          partner or member of the insured.



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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 71 of 102 Page ID #:77




0. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS

        in Section III — Common Policy Conditions, Paragraph C. Concealment, Misrepresentation or Fraud
        is amended to include the following additional paragraph;

        Unintentional failure of an "employee" of the insured to disclose a hazard or other material information will
        not violate this condition, unless an "executive officer" (whether or not an "employee") of any insured
        knows about such hazard or other material information.

P. OTHER INSURANCE, INCLUDING PRIMARY PROVISION

        In Section III Common Policy Conditions, Paragraph H. Other insurance, subparagraphs 2. and 3.
        are replaced by the following:

        H. Other Insurance

        If other valid and collectible insurance is available to the insured for a loss we cover under this insurance,
        our obligations are limited as follows:

        1. Primary Insurance

            This insurance is primary except when Paragraph 2 below applies. If this insurance is primary, our
            obligations are not affected unless any of the other insurance is also primary, Then, we will share with
            all that other insurance by the method described in Paragraph 3 below.

        2. Excess Insurance

            a. This insurance is excess over:

                (1) Any of the other insurance, whether primary, excess, contingent or on any other basis:

                     (a)That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for
                           "your work";

                     (b)That is insurance that applies to "property damage" to premises rented to you or
                           temporarily occupied by you with permission of the owner; or

                     (c) If the loss arises out of aircraft, "autos" or watercraft to the extent not subject to Exclusion
                              g. of Section ll.B. Exclusions, 1. Applicable to Business Liability Coverage; or

                (2) Any other primary insurance available to you covering liability for damages arising out of the
                    premises or operations for which you have been added as an additional insured.

           b. When this insurance is excess, we will have no duty to defend the insured against any 'suit" if any
              other insurer has a duty to defend the insured against that "suit." If no other insurer defends, we
              will undertake to do so, but we will be entitled to the insured's rights against all those other
              Insurers.

           c. When this insurance is excess over other insurance, we will pay only our share of the amount of
              the loss, if any, that exceeds the sum of:

                (1) The total amount that all such other insurance would pay for the loss in the absence of this
                     insurance;



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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 72 of 102 Page ID #:78




                (2) The total of all deductible and self-insufed amounts under all that other insurance.

            d. We will share the remaining loss, if any, with any other insurance that is not described in this
               Excess insurance provision and was not brought specifically to apply in excess of the Limits of
               Insurance shovvn In the Declarations of this Coverage Part.

        3. Method of Sharing

            If all of the other insurance permits contribution by equal shares, we will follow this method also.
            Under this approach, each Insurer contributes equal amounts until it has paid its applicable limit of
            insurance or none of the loss remains, whichever comes first.

            If any of the other insurance does not permit contribution by equal shares, we will contribute by limits.
            Under this methOd, each insurer's share is based on the ratio of its applicable limit of insurance to the
            total applicable limits of insurance of all insurers.

Q.. WAIVER OF SUBROGATION REQUIRED BY CONTRACT

        In Section III — Common Policy Conditions, Paragraph K. Transfer of Rights of Recovery Against
        Others To Us, subparagraph 2. is replaced by the following:

        2. Applicable to Businessowners Liability Coverage:

        We will waive the rights of recovery we would otherwise have had against another person or Organization,
        for loss to which this insurance aPplies, provided the insured has waived their rights of recovery against
        such person or organization in a contract or agreement that is executed before such loss.

        To the extent that the insured's rights to recover all or part of any payment made under this Coverage
        Part have not been waived, those rights are transferred to us. The insured must do nothing after loss to
        impair them. At our request, the insured will bring "suit" or tranSfer those rights to us and help us enforce
        them. This Paragraph does not apply to Medical Expenses Coverage.


All other terms and conditions of the policy remain unchanged.




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 73 of 102 Page ID #:79




CHUBB'

                                         MARIJUANA EXCLUSION

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    This endorsement modifies insurance provided under the following:
                                 BUSINESSOWNERS COVERAGE FORM

A. Section I — Property is amended as follows:
    1. The following is added to. Paragraph A.2. Property Not Covered:
         a. "Marijuana".
    2. Coverage under this Policy does not apply to that part of Business Income loss or Extra Expense
       incurred due to a suspension of your "operations" which involve the design, manufacture, dishibution,
       sale, serving, furnishing, use or possession of "marijuana".
    3. Paragraphs A.l. and A.2. above do not apply to any "marijuana" that is not designed, manufactured,
       distributed, sold, served or furnished for bodily:
         a. Ingestion;
         b. Inhalation;
         c. Absorption; or
         d. Consumption,
B. The following exclusion is added to Section II — Liability:
    This insurance does not apply to:
   1. "Bodily injury", "property damage" or "personal and advertising injury" arising out of, caused by, or
      attributable to, whether in whole or in part, the following:
         a. The design, manufacture, distribution, sale, serving, furnishing, use or possession of "marijuana";
         b. The actual, alleged, threatened or suspected inhalation, ingestion, absorption or consumption of,
            contact with, exposure to, existence of, or presence of "marijuana"; or
    2.   "Property damage" to "marijuana".
         This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
         the supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence"
         which caused the " bodily injury" or `property damage', or the offense which caused the "personal
         and advertising injury', involved that which is described in Paragraph Ba. or B .2. above.
         However, this exclusion does not apply to any "marijuana" that is not designed, manufactured,
         distributed, sold, served or furnished for bodily:
         a. Ingestion;
         b. Inhalation;
         c. Absorption; or
         d. Consumption,
C. The following changes apply only to Electronic Data Liability — Broad Coverage Endorsement EP 05 96 if it
   is attached to this Policy:
   The following exclusion is added to Section U — Liability:
   This insurance does not apply to:
   "Loss of Electronic Data":


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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 74 of 102 Page ID #:80




    1. Arising out of, caused by, or attributable to, whether in whole or in part, the following:
       a. The design, manufacture, distribution, sale, serving, furnishing, use or possession of "marijuana";
                                                                                                   consumption of,
       b. The actual, alleged, threatened or suspected inhalation, ingestion, absorption or
           contact with, exposure to,   existence of, or presence of "marijuana";  or
    2. With respect to any "electronic data" that is used in the design,
                                                                            manufacture, distribution, sale, serving,
       furnishing, use or possession of "marijuana".
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
       the supervision, hiring, employment, training or monitoring of others by that insured, if the "electronic
       data incident" which caused the "loss of electronic data" involved that which is described in Paragraph
       C.1. or C.2. above.
       However, this exclusion does not apply to any "marijuana" that is not designed, manufactured,
       distributed, sold, served or furnished for bodily:
        a. Ingestion;
        b. Inhalation;
        c. Absorption; or
        d. Consumption.
D. For purposes of this endorsement, the following definition applies:
    "Marijuana":
    1. Means:
        Any good or product that consists of or contains any amount of Tetrahydrocannabinol (THC) or any
        other cannabinoid, regardless of whether any such THC or cannabinoid is natural or synthetic.
    2. Paragraph D .1. above includes, but is not limited to, any of the following containing such THC or
       cannabinoid:
        a. Any plant of the genus Cannabis L., or any part thereof, such as seeds, stems, flowers, stalks and
           roots; or
        b. Any compound, byproduct, extract, derivative, mixture or combination, such as, but not limited to:
            (I) Resin, oil or wax;
           (2) Hash or hemp; or
           (3) Infused liquid or edible marijuana;
       whether derived from any plant or part of any plant set forth in Paragraph D.2.2. above or not.

All other terms and conditions remain unchanged.




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 75 of 102 Page ID #:81




                            DISCLOSURE PURSUANT TO TERRORISM RISK
                                        INSURANCE ACT
  Named Insured                                                                                                      I Endorsement Number
  LAUNDRY LOSANGELES, INC                                                                                            I TRIA11C0115
 Policy Symbol       I Policy Number                     Policy Period                                                 Effective Dale of Endorsement
  SER.               I 095321306                       i 03-17-2020 TO 03-17-2021                                    l 03-17-2020
 Issued By (Nome of Insurance Company)
 ACE PROPERTY & CASUALTY INSURANCE COMPANY
 Insert the policy number. The remainder of the information is to be completed only when 012 endorsement is issued subsequent to the preparation or the policy,



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Disclosure Of Premium
In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
disclosing the portion of your premium, If any, attributable to coverage for terrorist acts certified under the
Terrorism Risk Insurance Act. The portion of your premium attributable to such coverage is shown in this
endorsement or in the policy Declarations.

Disclosure Of Federal Participation in Payment Of Terrorism Losses
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under
the federal program. The federal share equals 85% for year 2015, 84% beginning on January 2016; 83%
beginning on January 1 2017, 82% beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80%
beginning on January 1, 2020 of that portion of the amount of such insured losses that exceeds the applicable
insurer retention, However, if aggregate insured losses attributable to terrorist acts certified under the Terrorism
Risk Insurance Act exceed $100 billion in a calendar year , the Treasury shall not make any payment for any
portion of the amount of such losses that exceeds $100 billion.

Cap On Insurer Participation In Payment Of Terrorism Losses
If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed
$100 billion in a calendar year and we have met our insurer deductible under the Terrorism Risk Insurance Act,
we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
in such case insured fosses up to that amount are subject to pro rata allocation in accordance with procedures
established by the Secretary of the Treasury.

Terrorism Risk Insurance Act premium: $620.




                                                                                                          Authorized Representative




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 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 76 of 102 Page ID #:82




 POLICY NUMBER: D95298655                                                                        BUSINESSOWNERS
                                                                                                     BP 12 01 08 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   BUSINESSOWNERS POLICY CHANGES
THIS ENDORSEMENT FORMS A PART OF THE POLICY NUMBERED BELOW.

 POLICY NUMBER                  POLICY CHANGES EFFECTIVE               COMPANY
 D95298655                      12-02-2020                             ACE Fire Underwriters Insurance
                                                                       Company
 NAMED. INSURED                                                        AUTHORIZED REPRESENTATIVE
 CHAI FIVE LAUNDRY SERVICES LLC                                        Internal Users
                                                  CHANGES
 Amended Limits to the following: Lod 1 - BPP 83,000,000; Building $1,120,000, Loc 2 - BPP $3,000,000,
 Building $760,000.




                             POLICY AMOUNT AND PREMIUM ADJUSTMENT
                          Limits Of Insurance         Premiums
                                                                                             X      Add'I Premium
     Coverage        Previous Limit New Limit           Previous             New
    Description_      Of insurance Of Insurance         Premium            Premium                 Return Premium
"Building only"      $ 1,800,000     $ 1,120,000     $ 4,380            $ 2,948              $ -1,432
Location #1,
Building #1

Business Personal    $ 1,120,000     $ 3,000,000     $ 7,325           $ 16,743              $. 9,418
Property I
improvements 8.
Betterments only
Location #1,
Building #1

Business Personal    $ 1,200,000     $ 3,000,000     $ 7,260           $ 15,600              $ 8,340
Property /
Improvements &
Betterments only

Location #2,
Building #1


OPTIONAL COVERAGES
The   following   optional     coverages    are added          under     this     policy     Add', Premium
when designated by an "X" in the box(es) shown below.
                                                                                           X Return Premium



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Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 77 of 102 Page ID #:83




                                                     Limits Of insurance
     Outdoor Signs                   $                                                 $
     (Location#1)
     Outdoor Signs                   $                                                 $
     (Locatlon#2)
     Burglary and Robbery                                                              $
     (Named Peril. Endorsement only) $                       Inside the Premises

                                          $                  Outside the Premises

     Or

     Money and Securities                 $                  inside the Premises       $

                                          $                  Outside the Premises
     Employee Dishonesty                  $                  each occurrence           $
     Equipment Breakdown                  $                                            $
     (Location #1, Building #1)
     Equipment Breakdown                  $                                            $
     (Location #2, Building #1]



                                      TOTAL PREMIUM ADJUSTMENTS

                          PREMIUM DUE AT POLICY CHANGE EFFECTIVE DATE
                          ADDITIONAL                                        RETURN
                           $ 4,819                                          $

REMOVAL       If Covered Property is removed to a new location that is desCribed on this Policy Change, you may
PERMIT        extend this insurance to include that Covered Property at each location during the removal.
              Coverage at each location will apply in the proportion that the value at each location bears to the
              value of all Covered Property being removed. This permit applies up to 10 days after the effective
              date of this Policy Change: after that. this insurance does not apply at the previous location,



Authorized Representative Signature




Page 2 of 2                            Insurance Services Office, Inc., 2009                     BP 12 01 08 10     0
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 78 of 102 Page ID #:84



 CHUBEle


 December 29, 2020




 LAUNDRY LOS ANGELES,, INC
 6032 SHULL ST
 BELL GARDENS, CA 90201

                                        NOTICE OF CONDITIONAL RENEWAL

 Re:       Policy # SERCAD953213063N
           Type of Policy: Business Owners
           Insured: LAUNDRY LOS ANGELES, INC
           Insurance Co: Pacific Employers insurance Company
           Expiration Date: 03-17-2021 at 12:01 a.m. at the address set forth in the Declarations

 Dear Insured:

 Thank you for selecting Chubb. We value your business and look forward to uontinuing our relationship.

 This notice is to inform you that when the above referenced policy expires, we will be _making the following changes
 to your renewal policy:

                 The following exclusion[s) will be added to your policy due to COVID-19 and/or other hazards:
                     o BOP43862 (0914) POLLUTION, ORGANIC PATHOGEN, SILICA, ASBESTOS AND
                          LEAD EXCLUSION WITH HOSTILE FIRE AND HUMAN FOOD PRODUCT
                          EXCEPTIONS
                     o. BOP49665 (0817) COlvLVIUNICABLE OR INFECTIOUS DISEASES EXCLUSION -
                          TOTAL

       •     In addition, the following additional changes will be made;

            •    The following forms will be added to your policy:
                     o BOP48528 (1016) ASBESTOS, SILICA OR SIMILAR. COMPOUNDS, INCLUDING
                          MIXED DUST EXCLUSION
                     o BOP48573 (0117) LEAD EXCLUSION
                     o BOP51381 (1018) OPIOIDS GOODS. OR PRODUCTS EXCLUSION - TOTAL
                     o BP0523 (0115) CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

            •    The following forms were removed from your policy:
                     o BOP47635 (0716) BUSINESSOWNERS LIABILITY ENHANCEMENTS ENDORSEMENT
                     o BOP47663 (0117) BUS1NESSOWNER PROPERTY ENHANCEMENTS

            •    Your Policy will include a reduction to your Personal Property Standard limit from $3,000,000 to
                 $1,236,000.
            •    Your Policy will include a reduction to your Personal Property Standard limit from $5,000,000 to
                 $515,000.



                                                                                                           Page 1 of 3
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 79 of 102 Page ID #:85



       I-1 Li BET
              Your Policy will inclUde a reduction to your Customers Goods Bnharicernent limit froth $3i000,000 to
              $1,236,000.

 If you have any questions. or concerns: regarding these changes, we strongly encourage reaching out directly to your
 insurance Agent.

 A.copy of this'notice is being.provided to your Agent; please contact them directly with any questions regarding your
 policy.

 Thank you again for selecting Chubb.




                                                                          Jeffrey A. Updyke
                                                                          Vice President, Chubb Group
                                                                          Division President; ChUbb Small:BuSineSS
 cc:
 RSC INSURANCE BROKERS 1NC
 700 AIRPORT BLVD, #300
 BURIATGAME, CA 94010=0000




                                                                                                        Page 2of 3:
Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 80 of 102 Page ID #:86



  C I-1 U ES Er


                      IMPORTANT STATE-SPECI.FIC INFORMATION



 NJ:    As required by the New Jersey Insurance Department, we advise that failure to pay the
        renewal premium by the date it is due will result in termination of the policy for
        nonpayment of premium.

 NY:    The first named insured or his/her authorized agent/broker may request in writing loss
        information with respect to this policy and previous policies we have written for you. We
        will provide this information within 10 days from the date we receive your request.

 UT:    Failure to pay the renewal premium by the expiration date shown above, extinguishes your
        right.to renewal.




       If you have any questions regarding this notice or if you would like any additional
                        information you should reach out to your agent.




                                                                                             Page 3 of 3
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 81 of 102 Page ID #:87



                            PACIFIC EMPLOYERS INSURANCE COMPANY
                                      436 WALNUT STREET
                                     PHILADELPHIA; PA 19106

Named Insured: LAUNDRY LOS ANGELES, INC                              Poliby Number SERCAD953213063N

                       This page is separate and independent fronithe notice given.
                  We'are' informing:you that.the following parties were notified,of this action.

                                             PARTIES NOTIFIED



NaMed Insured.
LAUNDRY LOS ANGELES, INC*
6032 SHULL ST
BELL GARDENS, CA 90201



ProdUoer
RSC INSURANCE BROKERS 'INC:
700 AIRPORT BLVD; #300.
BURLINGAME,..CA 94010-0000




                                                                                               Page 1 oil'
         Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 82 of 102 Page ID #:88




CHUBB'                             ACE. Property And Casualty Insurance Company                 Businessowners
                                                                                              Policy Declarations
                       This Policy is issued by the stock insurance company listed above ("Insurer").




   AT LEAST ONE OF THE ENDORSEMENTS IS A CLAIMS MADE AND REPORTED COVERAGE SECTION. EXCEPT AS
   OTHERWISE PROVIDED HEREIN, TI HS COVERAGE SECTION COVERS ONLY CLAIMS FIRST MADE AGAINST THE INSURED
   AND REPORTED TO THE INSURER DURING THE POLICY PERIOD OR THE EXTENDED REPORTING PERIOD. PLEASE READ
   THIS COVERAGE SECTION CAREFULLY. THE LIMITS OF LIABILITY AVAILABLE TO PAY INSURED DAMAGES SHALL BE
   REDUCED BY AMOUNTS INCURRED FOR CLAIMS EXPENSES. FURTHER NOTE THAT AMOUNTS INCURRED FOR DAMAGES
   AND CLAIMS EXPENSES SHALL ALSO BE APPLIED AGAINST THE RETENTION AMOUNT.

Policy Number:          D95321306
Renewal of:             New

Named Insured & Principal Address:                           Policy Period:      From 03-17-2020 To 03-17-2021
LAUNDRY LOS ANGELES, INC                                                         12:01 AM' Standard Time at your mailing
                                                                                 address shown
6032 Shull St
Bell Gardens, CA 90201

ADVANCED PREMIUM: $9,951.00


   nitted Status: Admitted                      Auditable Status: Yes
                                                Auditable Period: Annual




  IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH
  YOU TO PROVIDE INSURANCE AS STATED. IN THIS POLICY



Business Description: Services

Section 1.    PROPERTY



      Coverage                  Limit of Insurance             Deductible        Revised Period           Premium
                                                                                   of Indemnity
Business Income               Actual Loss Sustained                72 hours        12 Months                  $0
and Extra Expense
Limit of Insurance




  BOP-43591c (11117)                                      © 2017                                    Page 1 of .5
       Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 83 of 102 Page ID #:89



       Described Premises: 6032 Shull St, Bell Gardens, CA 90201

        Prem. Coverage(s)        Limit Of     Deductible               Valuation            Premium
         No.                    Insurance
          1   Business          $1,200,000       $500              Replacement Cost         $5,328.00
              Personal
              Property

               Coverage                 Limit of                   Deductible              Premium
                                       Insurance
       Equipment Breakdown              Included               72 hours/$5.00               $233
       Protection Coverage


       WIND COVERAGE

       Wind Deductible Percentage                                                  NIA
       Wind Deductible Dollar Amount                                               $500

       Wind Excluded                                                               No
       Wind Premium:                                                            Included




       Described Premises: 6032 Shull St, Bell Gardens, CA 90201

       Prem.    Coverage(s)      Limit Of    Deductible               Valuation             Premium
        No,                     Insurance
         1      Business         $500,000        $500              Replacement Cost         $2,520.00
                Personal
                Property

               Coverage                  Limit of                  Deductible              Premium
                                       Insurance
       Equipment Breakdown              Included               72 hours/$500                $133
       Protection Coverage


       WIND COVERAGE

       Wind.Deductible Percentage                                                  N /A
       Wind Deductible Dollar Amount                                               $500

       Wind Excluded                                                               No
       Wind Premium:                                                            Included




     ADDITIONAL COVERAGES (Optional)

        Prem.        Build.            Coverage(s)                 Limit Of  Deductible      Premium
         No.          No.                                          Insurance




BOP-43591c (11117)                                      2017                                    Page 2 of 5
             Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 84 of 102 Page ID #:90




                 1            1         Business Income From          $5,000         $500             $0
                                         Dependent Properties
                 1            2         Business Income From          $5,000         $500             $0
                                         Dependent Properties
                 1            1            Outdoor Property            $2,500        $500             $0
                 1            2            Outdoor Properly            $2,500        $500             $0
                 1            1          Valuable Papers And          $10,000        $500             $0
                                              Records
                 1            2          Valuable Papers And          $10,000       $500              $0
                                              Records
                1             1          Accounts Receivable          $10,000       $500             $0
                1             2          Accounts Receivable          $10,000       $500             $0
                1             1           Specified Business            $0          $500             $0
                                          Personal Property
                                        Temporarily Away From
                                              Premises
                1             2           Specified Business            $0          $500             $0
                                          Personal.Property
                                        Temporarily Away From
                                              Premises
             Total Terrorism (TRIA) Premium:           $195
                                                                     Total Property Premium:        $8,717.00


Section 2.     LIABILITY

          Described Premises: 6032 Shut St, Bell Gardens, CA 90201

             Prem.         Classification         Class Code         Rating Basis       Premium        I       Premium
              No.                                                                         Basis            Prem/Ops PR/CC
                     Industrial Laundries            09501          Gross Sales         1,500,000            $986      0.
          Described Premises: 6032 Shull St, Bell Gardens, CA 90201

             Prem.          Classification        Class Code         Rating Basis       Premium                Premium
              No.                                                                         Basis            Prem/Ops PR/CC
               1.       Industrial Laundries                          Gross Sales       1,500,000             $0       0
             LIMITS
             Other than Products/Completed Operations Aggregate      $2,000,000
             Products/Completed Operations Aggregate                 $2,000,000
             Liability and Medical Expenses                          $1,000,000                Per Occurrence
             Damage to Premises Rented to You                        $1,000,000                Any. One Premises
             Medical Expense                                         $5,000                    Per Person
             Combined Total Aggregate                                $2,000,000                All Locations Combined


►tem C.   OPTIONAL COVERAGES (LIABILITY)


             PRIVACY LIABILITY & DATA BREACH

             LIMITS
             Privacy Liability Each Claim Limit                        $25,000



  BOP-43591c (11/17)                                     © 2017                                      Page 3 of 5
           Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 85 of 102 Page ID #:91



            Privacy Liability Aggregate                                 $25,000
            Data Breach Fund Each Claim                                 $10,000
            Data Breach Aggregate                                       510,000
            Maximum Policy.Aggregate Limit of Liability                 $35,000.
            Retention                                                   $1,000
            Retroactive.Date:                                           03-17-2020

                                                                      Total Data Breach Liability Premium: $83

                                                                           Total Privacy Liability Premium: $40


                                                              Total Terrorism (TRIA) Premium:           $195
                                                              Total General Liability Premium:        $1,234
                                                                Total Policy Premium: $9,951.00

Item E.    COVERAGE FORMS
 Form Number            Edition       Title
 BOP43591c          1117        BUSINESSOWNERS POLICY DECLARATIONS
 CC1K11H            0314        SIGNATURES
 8P0003             0713        BUSINESSOWNERS COVERAGE FORM. .
 80P43603           0814.      .EXCLUS.ION-GENETICALLY MODIFIED ORGANISMS
 BOP43830           0614        LEAD EXCLUSION
 _,OP45202          0215        PRIVACY LIABILITY AND.DATA BREACH FUND' ENDORSEMENT
 BOP47635a          0716        BUSINESSOWNERS LIABILITY ENHANCEMENTS ENDORSEMENT
 BP0453             0713        WATER BACK-UP AND SUMP OVERFLOW
 app6o1             0702        CALCULATION OF PREMIUM
 8P0517             0106        EXCLUSION -.SILICA OR SILICA-RELATED DUST
 BP0595             0514        ELECTRONIC DATA LIABILITY - LIMITED COVERAGE
 8130598            0713        AMENDMENT OF INSURED CONTRACT DEFINITION
 BP1407             0110        BUSINESS INCOME AND EXTRA EXPENSE - REVISED PERIOD OF INDEMNITY
 BP1486             0713        COMMUNICABLE DISEASE EXCLUSION
 8P150.6            0514        EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION:
                                {PERSONAL AND ADVERTISING INJURY ONLY)
 50P47638           0316        CUSTOMER'S GOODS ENHANCEMENT
 BOP47643           0316        EMPLOYMENT-RELATED PRACTICES EXCLUSION
 BOP47663b          0117        BUSINESSOWNER PROPERTY ENHANCEMENTS
 ALL20887           1006        ACE PRODUCER COMPENSATION PRACTICES AND POLICIES



  BOP-435910 (11/17)                                      .0 2017                                    Page.4 of 5
            Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 86 of 102 Page ID #:92



                                  U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN ASSETS CONTROL ("OFAC") ADVISORY
  ILP001              0104
                                  NOTICE TO POLICYHOLDERS

  ' 1.142490B         0716        U.S. FOREIGN ACCOUNT TAX COMPLIANCE ACT ("FATCA")

  ALL21101            1106        TRADE OR ECONOMIC SANCTIONS ENDORSEMENT

  BOP49269            0517        PERIOD OF RESTORATION DEFINITION — WAITING PERIOD AMENDED

  BOP50397            0518        MARIJUANA EXCLUSION

  ALL43826a           0716        APPLICATION SUPPLEMENT STATE FRAUD WARNINGS

  TRIA11c             0115        DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE ACT

  0P0155              0517        CALIFORNIA CHANGES

  BP0686              .0517       CALIFORNIA - HIRED AUTO AND. NON-OWNED AUTO LIABILITY


Item F.     Notice under this Polity shall be given to:
            Chubb North America•Clalms
            P.O. Box 5122
            Scranton, PA 18505-0554.
            Toll Free: 844-539-3801
            ACECRS-CLAIMS@chubb.com

Item G.     Producer Name and Mailing Address

           UNIQUE INSURANCE SERVICE, INC.
           737 SOUTHPOINT BLVD #F
           PETALUMA, CA 94954-0000

Item H.    Producer Code: 03166C


IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and Secretary, and countersigned by
duly authorized representative of the.Insurer.

DATE:      03-17-2020

                                                                                Authorized Representative




  BOP-43591c (11/17)                                      *201.7                                    Page 5 of 5
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 87 of 102 Page ID #:93




                                                                   SIGNATURES
  Named Insured                                                                                                                 Endorsement Number
  LAUNDRY LOS ANGELES, INC                                                                                                       Cc1K11H0314
 Policy Symbol          Policy Number                    Policy Period                                                          Effective Date or Endorsement
  SER                   D95321306                        03-17-2020 TO 03-17-2021                                                03-17-2020
 Issued By (Name of Insurance Company)
  ACE PROPERTY AND CASUALTY INSURANCE COMPANY
 Insert the policy number. The remainder of the information Is to be completed only when this endorsement fs Issued subsequent to the preparation at the policy.


THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY
NAMED ON THE FIRST PAGE OF THE DECLARATIONS.


                         By signing and delivering the policy to you, we state that it is a valid contract,


                      INDEMNITY INSURANCE COMPANY OF NORTH AMERICA (A stock company)
                        BANKERS STANDARD FIRE AND MARINE COMPANY (A stock company)
                           BANKERS STANDARD. INSURANCE COMPANY (A stock company)
                              ACE AMERICAN INSURANCE COMPANY (A stock company)
                      ACE PROPERTY AND CASUALTY INSURANCE COMPANY (A stock company)
                           INSURANCE COMPANY OF NORTH AMERICA (A stock company)
                           PACIFIC EMPLOYERS INSURANCE.COMPANY (A stock company)
                         ACE FIRE UNDERWRITERS INSURANCE COMPANY (A stock company)
                           WESTCHESTER FIRE INSURANCE COMPANY (A stock company)

                          436 Walnut Street, P.O. Box 1000, Philadelphia, Pennsylvania 19106-3703




          REBECCA L. COLLINS, Secretary
                                                                                                               JOHN J. LUPICA, President




                                                                                                                Authorized Representative




CC-11(11h (03/14)
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 88 of 102 Page ID #:94




                                                                                            BUSINESSOWNERS
                                                                                                'BP 00 03 07 13

                   BUSINESSOWNERS COVERAGE FORM
Various provisions in this policy restrict coverage.                 (5) Personal property owned by you that is
Read the entire policy carefully to determine rights,                      used to maintain or service the buildings
duties and what is and is not covered.                                     or structures or the premises, including:
Throughout this Coverage Form, the words "you" and                       (a) Fire extinguishing equipment;
"your" refer to the Named Insured shown in the                           (b) Outdoor furniture;
Declarations. The words "we", "us" and "our" refer to
the company providing this insurance.                                    (c) Floor coverings; and
In Section II — Liability, the word "insured" means any                  (d) Appliances used for refrigerating,
person or organization qualifying as such under                                ventilating, cooking, dishwashing or
Paragraph C. Who Is An Insured,                                                laundering;
Other words and phrases that appear in quotation                    (6) If not covered by other insurance:
marks have special meaning. Refer to Paragraph H.                        (a) Additions         under    construction,
Property Definitions in Section 1 — Property and                               alterations arid repairs to the
Paragraph F. Liability And Medical Expenses                                    buildings or structures:
Definitions in Section II — Liability.                                   (b) Materials, equipment, supplies and
SECTION I — PROPERTY                                                           temporary structures, on or within
A. Coverage                                                                    100 feet of the described premises,
                                                                              used       for     making    additions,
   We will pay for direct physical loss of or damage to                       alterations or repairs to the buildings
   Covered Property at the premises described in the                           or structures.
   Declarations• caused by or resulting from any
   Covered Cause of Loss.                                         b. Business Personal Property located in or on
                                                                      the buildings or structures at the described
   1. Covered Property                                                premises or in the open (or in a vehicle)
       Covered Property includes Buildings as                        within 100 feet of the buildings or structures
       described under Paragraph a, below, Business                  or within 100 feet of the premises described
       Personal Property as described under                           in the Declarations, whichever distance is
       Paragraph b. below, or both, depending on                      greater, including:
        whether a Limit Of Insurance is shown in the
       Declarations for that type of property,                      (1) Property you own that is used in your
                                                                           business;
       Regardless of, whether coverage is shown in
       the Declarations for Buildings, Business                     (2) Property of others that is in your care,
       Personal Property, or both, there is no                             custody or control, except as otherwise
       coverage for property described under                              provided in Loss Payment Property Loss
       Paragraph 2. Property Not Covered.                                 Condition Paragraph E.5.d,(3)(b);
        a. Buildings, meaning the buildings and                     (3) Tenant's             improvements        and
           structures at the premises described in the                    betterments.         Improvements      and
           Declarations, including:                                       betterments are fixtures, alterations,
                                                                          installations or additions:
          (1) Completed additions;
                                                                         (a) Made a part of the building or
          (2) Fixtures, including outdoor fixtures;                           structure you occupy but do not own;
          (3) Permanently installed:                                          and
              (a) Machinery; end                                        (b) You acquired or made at your
              (b) Equipment;                                                  expense but cannot legally remove;
          (4) Your personal property in apartments,                 (4) Leased personal property which you
               rooms or common areas furnished by                         have a contractual responsibility to
               you as landlord;                                           insure, unless otherwise provided for
                                                                          under Paragraph 1.b.(2); and




BP 00 03 07 13                       © Insurance Services Office, Inc., 2012                         Page 1 of 53
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 89 of 102 Page ID #:95




          (5) Exterior building glass, if you are a                 i. "Electronic data", except as provided under
                tenant and no Limit Of Insurance is                     Additional Coverages — Electronic Data.
                shown in the Declarations for Building                  This Paragraph I. does not apply to your
                property. The glass must be owned by                    "stock" of prepackaged software or to
                you or in your care, custody or control.                "electronic data" which is integrated in and
    2. Property Not Covered                                             operates or controls the building's elevator,
                                                                        lighting, heating, ventilation, air conditioning
       Covered Property does not Include:                               or security system; or
       a. Aircraft, automobiles, motortrucks and othe►              J. Animals, unless owned by others arid
            vehicles subject to motor vehicle                           boarded by you, or if owned by you, only as
            registration;                                               "stock" while inside of buildings.
       b. "Money" or "securities" except as provided            3. Covered Causes Of Loss
            in the:
                                                                   Direct physical loss unless the loss is excluded
          (1) Money        And     Securities    Optional          or limited under Section I — Property.
                Coverage; or
                                                                4. Limitations
          (2) Employee          Dishonesty       Optional
                Coverage;                                          a. We will not pay for loss of or damage to:
       c. Contraband, or property in the course of                     (1) Steam boilers, steam pipes, steam
           illegal transportation or trade;                                  engines or steam turbines caused by or
                                                                             resulting from any condition or event
       d. Land (including land on which the property                        inside such equipment. But we will pay
           is located), water, growing crops or lawns                        for loss of or damage to such equipment
           (other than lawns which are part of a                            caused by or resulting from an explosion
           vegetated roof);                                                 of gases or fuel within the furnace of any
       e. Outdoor fences, radio or television                               fired vessel or within the flues or
           antennas (including satellite dishes) and                        passages through which the gases of
           their lead-In wiring, 'masts or towers, signs                    combustion pass.
           (other than signs attached to buildings),                  (2) Hot water boilers or other water heating
          trees, shrubs or plants (other than trees,                        equipment caused by or result€ng from
           shrubs or plants which are part of a                             any condition or event inside such
          vegetated roof), all except as provided in                        boilers or equipment, other than an
          the:                                                              explosion.
         (1) Outdoor Property Coverage Extension;
               or
                                                                      (3) Property that is missing, where the only
                                                                            evidence of the loss or damage is a
         (2) Outdoor Signs Optional Coverage;                               shortage disclosed on taking inventory,
       f. Watercraft (including motors, equipment                           or other instances where there is no
          and accessories) while afloat;                                    physical evidence to show what
                                                                            happened to the property. This limitation
      g. Accounts, bills, food stamps, other                                does not apply to the Optional Coverage
          evidences of debt, accounts receivable or                         for Money and Securities.
          "valuable papers and records"; except as
          otherwise provided in this policy;                          (4) Property that has been transferred to a
                                                                            person or to a place outside the
      h. "Computer(s)" which are permanently                                described premises on the basis of
          installed or designed to be permanently                           unauthorized instructions.
          Installed in any aircraft, watercraft,
          motortruck or other vehicle subject to motor                (5) The interior of any building or structure,
          vehicle registration. This paragraph does                         or to personal property in the building or
          not apply to "computer(s)" while held as                          structure, caused by or resulting from
                                                                            rain, snow, sleet, ice, sand or dust,
          "stock";
                                                                            whether driven by wind or not, unless:
                                                                           (a) The building or structure first
                                                                                 sustains damage by a Covered
                                                                                Cause of Loss to its roof or walls
                                                                                through which the rain, snow, sleet,
                                                                                ice, sand or dust enters; or




Page 2 of 53                          © Insurance Services Office, Inc., 2012                        BP 00.03 07 13
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 90 of 102 Page ID #:96




             (b) The loss or damage is caused by or             5, Additional Coverages
                    results from thawing of snow, sleet            a. Debris Removal
                    or ice on the building or structure.
                                                                      (1) Subject to Paragraphs (2), (3) and (4),
         (6) Lawns, trees, shrubs or plants which are                      we will pay your expense to remove
               part of a vegetated roof, caused by or                      debris of Covered Property and other
               resulting from:                                             debris that is on the described premises,
              (a) Dampness or dryness of atmosphere                        when such debris is caused by or
                    or of soil supporting the vegetation;                  results from a Covered Cause of Loss
             (b) Changes in or extremes of                                 that occurs during the policy period. The
                    temperature;                                           expenses will be paid only if they are
                                                                           reported to us in writing within 180 days
             (c) Disease;                                                  of the date of direct physical loss or
             (d) Frost or hail; or                                         damage.
             (e) Rain, snow, ice or sleet.                            (2) Debris Removal does not apply to costs
      b. We will not pay for loss of or damage to the                      to:
          following types of property unless caused                       (a) Remove debris of property of yours
          by the "specified causes of loss" or building                         that is not insured under this policy,
          glass breakage:                                                       or property in your possession that is
        (1) Animals, and then only if they are killed                           not Covered Property;
               or their destruction is made necessary.                   (b) Remove debris of property owned by
        (2) Fragile articles such as glassware,                                 or leased to the landlord of the
               statuary, marble, chinaware and                                  building where your described
               porcelain, if broken. This restriction does                      premises are located, unless you
               not apply to:                                                    have a contractual responsibility to
                                                                               insure such property and it is insured
             (a) Glass that is part of the exterior or                         under this policy;
                   interior of a building or structure;
                                                                         (c) Remove any property that is
            (b) Containers of property held for sale;                          Property Not Covered, including
                  or                                                            property addressed under the
            (c)  Photographic or scientific instrument                         Outdoor        Property     Coverage
                 lenses.                                                       Extension;
      c. For loss or damage by theft, the following                      (d) Remove property of others of a type
         types of property are covered only up to the                          that would not be Covered Property
         limits shown (unless a higher Limit Of                                under this policy;
         Insurance is shown in the Declarations):                        (0) Remove deposits of mud or earth
        (1) $2,500 for furs, fur garments and                                  from the grounds of the described
             garments trimmed with fur.                                        premises;
        (2) $2,500 for jewelry, watches, watch                            (f) Extract "pollutants" from land or
             movements, jewels, pearls, precious                               water; or
             and semiprecious stones, bullion, gold,                     (g)   Remove,    restore or replace polluted
             silver, platinum and other precious                               land or water.
            alloys or metals. This limit does not
             apply to jewelry and watches worth                      (3) Subject to the exceptions in Paragraph
             $100 or less per item.                                       (4), the following provisions apply:
        (3) $2,500 for patterns, dies, molds and                         (a) The most that we will pay for the
             forms.                                                            total of direct physical loss or
                                                                               damage       plus debris removal
                                                                               expense is the Limit of Insurance
                                                                               applicable to the Covered Property
                                                                               that has sustained loss or damage.




BP 00 03 07 13                        O insurance Services Office, Inc,, 2012                         Page 3 of 53
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 91 of 102 Page ID #:97




             (b) Subject to Paragraph (3)(a) above,                     The debris removal expense is less than
                   the amount we will pay for debris                    25% of the sum of the loss payable plus
                   removal expense is limited to 25% of                 the deductible. The sum of the loss
                   the sum of the deductible plus the                   payable and the debris removal expense
                  amount that we pay for direct                         ($49,500 + $10,000 = $59,500) is less
                   physical loss or damage to the                       than the Limit of Insurance. Therefore,
                  Covered Property that has sustained                   the full amount of debris removal
                  loss or damage. However, if no                        expense is payable in accordance with
                  Covered Property has sustained                        the terms of Paragraph (3).
                  direct physical loss or damage, the                   Example 2
                  most we will pay for removal of
                  debris of other property (If such                     Limit of Insurance            $ 90,000
                  removal is covered under this                         Amount of   Deductible        $     500
                  Additional Coverage) is $5,000 at                     Amount of Loss                $ 80,000
                  each location.                                        Amount of Loss Payable        $ 79,500
         (4) We will pay up to an additional $25,000                                           ($80,000 — $500)
              for debris removal expense, for each
              location, in any one occurrence of                        Debris Removal Expense        $ 40,000
              physical loss or damage to Covered                        Debris Removal Expense
              Property, if one or both of the following                 Payable
              circumstances apply:                                             Basic Amount           $ 10,500
            (a) The total of the actual debris removal                         Additional Amount      $ 25,000
                  expense plus the amount we pay for
                  direct physical loss or damage                        The basic amount payable for debris
                  exceeds the Limit of Insurance on                    removal expense under the terms of
                  the Covered Property that has                        Paragraph (3) is calculated as follows:
                  sustained loss or damage.                            $80,000 ($79,500 + $500) x .25 =
                                                                       $20,000; capped at $10,500. The cap
            (b) The actual debris removal expense                      applies because the sum of the loss
                  exceeds 25% of the sum of the                        payable ($79,500) and the basic amount
                  deductible plus the amount that we                   payable for debris removal expense
                  pay for direct physical loss or                      ($10,500) cannot exceed the Limit of
                  damage to the Covered Property that                  Insurance ($90,000).
                  has sustained loss or damage.
                                                                       The additional amount payable for
             Therefore, if Paragraphs (4)(a) and/or                    debris removal expense is provided in
             (4)(b) apply, our total payment for direct                accordance with the terms of Paragraph
             physical loss or damage and debris                        (4), because the debris removal
             removal expense may reach but will                        expense ($40,000) exceeds 25% of the
             never exceed the Limit of Insurance on                    loss payable plus the deductible
             the Covered Property that has sustained                   ($40,000 is 50% of $80,000), and
             loss or damage, plus $25,000.                             because the sum of the loss payable
        (5) Examples                                                   and debris removal expense ($79,500 +
             Example 1                                                 $40,000 = $119,500) would exceed the
                                                                       Limit of Insurance ($90,000). The
              Limit of Insurance             $ 90,000                  additional amount of covered debris
              Amount of Deductible           $     500                 removal expense is $25,000, the
             Amount of Loss                 $ 50,000                   maximum payable under Paragraph (4).
             Amount of Loss Payable          $ 49,500                  Thus, the total payable for debris
                                                                       removal expense In this example is
                                     ($50,000 — $500)                  $35,500; $4,500 of the debris removal
             Debris Removal Expense         $ 10,000                   expense Is not covered.
             Debris Removal Expense
             Payable                        $ 10,000
             ($10,000 is 20% of $50,000)




Page 4 of 53                          Insurance Services Office, Inc., 2012                   BP 00 03 07 13
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 92 of 102 Page ID #:98




      b. Preservation Of Property                                          (b) Insect or vermin damage that is
           If it is necessary to move Covered Property                           hidden from view, unless the
           from the described premises to preserve it                            presence of such damage is known
           from loss or damage by a Covered Cause                                to an insured prior to collapse;
           of Loss, we will pay for any direct physical                    (c) Use of defective material or methods
           loss of or damage to that property:                                   in construction, remodeling or
         (1) While it is being moved or while                                    renovation if the abrupt collapse
                temporarily stored at another location;                          occurs during the course of the
                and                                                              construction,      remodeling      or
                                                                                 renovation.
         (2) Only if the loss or damage occurs within
                30 days after the property is first moved.                 (d) Use of defective material or methods
                                                                                 in construction, remodeling or
      c. Fire Department Service Charge.                                        renovation if the abrupt collapse
           When the fire department is called to save                           occurs after the construction,
           or protect Covered Property from a                                   remodeling       or    renovation    is
           Covered Cause of Loss, we will pay up to                              complete, but only If the collapse is
           $2,500 for service at each premises                                   caused in part by:
           described In the Declarations, unless a                              (I) A cause of loss listed in
           different limit, is shown in the Declarations.                           Paragraph (2)(a) or (2)(b);
           Such limit is the most we will pay
          regardless of the number of responding fire                          (ii) One or more of the "specified
           departments or fire units, and regardless of                              causes of loss";
          the number or type of services performed.                           (iii) Breakage of building glass;
          This Additional Coverage applies to your                            (Iv) Weight of people or personal
          liability for fire department service charges:                            property; or
        (1) Assumed by contract or agreement prior                             (v) Weight of rain that collects on a
               to loss; or                                                          roof.
        (2) Required by local ordinance.                               (3) This Additional Coverage — Collapse
      d. Collapse                                                           does not apply to:
          The coverage provided under this                                (a) A building or any part of a building
          Additional Coverage — Collapse applies                                that is in danger of falling down or
          only to an abrupt collapse as described and                           caving in;
          limited in Paragraphs d.(1) through d.(7).                      (b) A part of a building that is standing,
                                                                                even if it has separated from another
        (1) For the purpose of this Additional                                  part of the building; or
               Coverage — Collapse, abrupt collapse
               means an abrupt falling down or caving                     (c) A building that Is standing or any part
               in of a building or any part of a building                       of a building that is standing, even if
               with the result that the building or part of                     it shows evidence of cracking,
               the building cannot be occupied for its                          bulging, sagging, bending, leaning,
               intended purpose.                                                settling, shrinkage or expansion.
        (2) We will pay for direct physical loss or                    (4) With respect to the following property:
               damage to Covered Property, caused by                      (a) Awnings;
               abrupt collapse of a building or any part
               of a building that is insured under this                   (b) Gutters and downspouts;
               policy or that contains Covered Property                   (c) Yard fixtures;
               Insured under this policy, if such                         (d) Outdoor swimming pools;
               collapse is caused by one or more of the
               following:                                                 (e) Piers, wharves and docks;
              (a) Building decay that is hidden from                       (f) Beach or diving platforms or
                    view, unless the presence of such                           appurtenances;
                    decay Is known to an insured prior to                 (g) Retaining walls; and
                    collapse;
                                                                          (h) Walks, roadways and other paved
                                                                                surfaces;




BP 00 03 07 13                         Cr Insurance Services Office, Inc., 2012                         Page 5 of 53
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 93 of 102 Page ID #:99




               if an abrupt collapse is caused by a                   We       not pay the cost to repair any defect
               cause of loss listed in Paragraphs (2)(a)              that caused the loss or damage, but we will
               through (2)(d), we will pay for loss dr                pay the cost to repair or replace damaged
               damage to that property only if such loss              parts of fire extinguishing equipment if the
               or damage Is a direct result of the abrupt             damage:
               collapse of a building insured under this             (1) Results In discharge of any substance
               policy and the property is Covered                        from an automatic fire protection
               Property under this policy,                               system; or
         (5) If personal property abruptly falls down                (2) Is directly caused by freezing.
               or caves in and such collapse is not the
               result of abrupt collapse of a building,            f. Business Income
               we will pay for loss or damage to                     (1) Business Income
               Covered Property caused by such
               collapse of personal property only if:                   (a) We will pay for the actual loss of
                                                                             Business Income you sustain due to
             (a) The collapse of personal property                            the necessary suspension of your
                   was caused by a cause of loss listed                      "operations" during the "period of
                   in Paragraphs (2)(a) through (2)(d)                       restoration". The suspension must
                   of this Additional Coverage;                              be caused by direct physical loss of
             (b) The personal property which                                 or damage to property at the
                   collapses is inside a building; and                       described premises. The loss or
                                                                             damage must be caused by or result
             (c) The property which collapses is not                         from a Covered Cause of Loss. With-
                   of a kind listed in Paragraph (4),                        respect to loss of or damage to
                   regardless of whether that kind of                        personal property in the open or
                   property is considered to be personal                     personal property in a vehicle, the
                   property or real property.                                described premises include the area
              The coverage stated in this Paragraph                          within 100 feet of such premises.
              (5) does not apply to personal property if                     With respect to the requirements set
              marring and/or scratching is the only                          forth in the preceding paragraph, if
              damage to that personal property                               you occupy only part of a building,
              caused by the collapse.                                        your premises mean:
        (6) This Additional Coverage — Collapse                              (i) The portion of the building which
              does not apply to personal property that                           you rent, lease or occupy;
              has not abruptly fallen down or caved in,
              even if the personal property shows                           (ii) The   area within 100 feet of the
              evidence of cracking, bulging, sagging,                            building or within 100 feet of the
              bending, leaning, settling, shrinkage or                           premises described in the
              expansion.                                                         Declarations, whichever distance
                                                                                 Is greater (with respect to loss of
        (7) This Additional Coverage — Collapse will                             or damage to personal property
              not increase the Limits of Insurance                               in the open or personal property
              provided in this policy.                                           in a vehicle); and
        (8) The term Covered Cause of Loss                                 (iii) Any area within the building or at
              includes the Additional Coverage —                                 the described premises, if that
              Collapse as described and limited in                               area services, or is used to gain
              Paragraphs d.(1) through d.(7).                                    access to, the portion of the
      e. Water Damage, Other Liquids, Powder                                     building which you rent, lease or
         Or Molten Material Damage                                               occupy.
         If loss or damage caused by or resulting
         from covered water or other liquid, powder
         or molten material occurs, we will also pay
         the cost to tear out and replace any part of
         the building or structure to repair damage to
         the system or appliance from which the
         water or other substance escapes.




Page 6 of 53                          © Insurance Services Office, inc., 2012                     BP 00 03 07 13
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 94 of 102 Page ID #:100




           (b) We will only pay for loss of Business               (2) Extended Business Income
                Income that you sustain during the                    (a) If the necessary suspension of your
                "period of restoration" and that                           "operations" produces a Business
                occurs within 12 consecutive months                        Income loss payable under this
                after the date of direct physical loss                     policy, we will pay for the actual loss
                or damage. We will only pay for                            of Business Income you incur during
                ordinary payroll expenses for 60                           the period that:
                days following the date of direct
               physical loss or damage, unless a                           (i) Begins on the date property
               greater number of days is shown in                              except finished stock is actually
                the Declarations.                                              repaired, rebuilt or replaced and
                                                                               "operations" are resumed; and
           (c) Business Income means the:
                                                                          (ii) Ends on the earlier of:
               (i) Net Income (Net Profit or Loss
                    before income taxes) that would                             i. The date you, could restore
                    have been earned or incurred if                                your      "operations",    with
                    no physical loss or damage had                                 reasonable speed, to the level
                    occurred, but not including any                                which would generate the
                    Net income that would likely have                              Business Income amount that
                    been earned as a result of an                                  would have existed if no direct
                    increase in the volume of                                      physical loss or damage had
                    business due to favorable                                      occurred; or
                    business conditions caused by                              ii. 60 consecutive days after the
                    the Impact of the Covered Cause                                date determined in Paragraph
                    of Loss on customers or on other                               (a)(i) above, unless a greater
                    businesses; and                                                number of consecutive days is
              (ii) Continuing normal operating                                     shown in the Declarations.
                    expenses incurred, including                           However,        Extended      Business
                    payroll.                                               Income does not apply to loss of
           (d) Ordinary payroll expenses:                                  Business Income incurred as a result
                                                                           of unfavorable business conditions
               (I) Means payroll expenses for all                          caused by the impact of the Covered
                    your employees except:                                 Cause of Loss in the area where the
                     I. Officers;                                          described premises are located.
                    ii. Executives;                                   (b) Loss of Business Income must be
                   iii. Department Managers;                               caused by direct physical loss or
                                                                           damage at the described premises
                   iv, Employees under contract;                           caused by or resulting from any
                        and                                                Covered Cause of Loss.
                    v. Additional Exemptions shown                 (3) With respect to the coverage provided in
                        in the Declarations as:                        this Additional Coverage, suspension
                         • Job Classifications; or                     means:
                         • Employees.                                 (a) The partial slowdown or complete
                                                                           cessation of your business activities;
              (Ii) Include:
                                                                           or
                     i. Payroll;
                                                                      (b) That a part or all of the described
                    ii. Employee benefits, if directly                     premises is rendered untenantable, if
                        related to payroll;                                coverage for Business Income
                   iii. FICA payments you pay;                             applies.
                   iv. Union dues you pay; and                     (4) This Additional Coverage is not subject
                                                                       to the Limits of Insurance of Section I —
                    v. Workers'          compensation                  Property.
                        premiums.




BP 00 03 07 13                      © Insurance Services Office, Inc., 2012                        Page 7 of 53
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 95 of 102 Page ID #:101




      g.     Extra Expense                                                 (c) To:
            (1) We will pay necessary Extra Expense                             (i) Repair or replace any property; or
                 you incur during the "period of                               (ii) Research, replace or restore the
                 restoration" that you would not have                               lost information on damaged
                 Incurred If there had been no direct                               "valuable papers and records";
                 physical loss or damage to property at
                 the described premises; The loss or                            to the extent it reduces the amount
                 damage must be caused by or result                             of loss that otherwise would have
                 from a Covered Cause of Loss. With                             been payable under this Additional
                 respect to loss of or damage to personal                       Coverage or Additional Coverage f,
                 property in the open or personal                               Business Income.
                 property in a vehicle, the described                  (3) With respect to the coverage provided in
                 premises include the area within 100                       this Additional Coverage, suspension
                 feet of such premises.                                     means:
                 With respect to the requirements set                      (a) The partial slowdown or complete
                 forth in the preceding paragraph, if you                       cessation of your business activities;
                occupy only part of a building, your                            or
                premises mean:                                             (b) That a part or all of the described
               (a) The portion of the building which you                        premises is rendered untenantable, if
                     rent, lease or occupy;                                     coverage for Business Income
               (b) The area within 100 feet of the                              applies.
                     building or within 100 feet of the               (4) We will only pay for Extra Expense that
                     premises       described     in   the                  occurs within 12 consecutive months
                     Declarations, whichever distance is                    after the date of direct physical loss or
                     greater (with respect to loss of or                    damage. This Additional Coverage is
                     damage to personal property in the                     not subject to the Limits of Insurance of
                     open or personal property in a                         Section I — Property.
                     vehicle); and                                  h. Pollutant Clean-up And Removal
               (c) Any area within the building or at the               We will pay your expense to extract
                     described premises, if that area                   "pollutants" from land or water at the
                     services, or is used to gain access                described premises if the discharge,
                     to, the portion of the building which              dispersal, seepage, migration, release or
                     you rent, lease or occupy.                         escape of the "pollutants" is caused by or
           (2) Extra        Expense     means      expense              results from a Covered Cause of Loss that
                incurred:                                               occurs during the policy period. The
               (a) To avoid or minimize the suspension                  expenses will be paid only if they are
                     of business and to continue                        reported to us in writing within 180 days of
                     "operations":                                      the date on which the Covered Cause of
                                                                        Loss occurs.
                     (i) At the described premises; or
                                                                        This Additional Coverage does not apply to
                    (ii) At replacement premises or at                  costs to test for, monitor or assess the
                         temporary locations, including                 existence, concentration or effects of
                         relocation expenses, and costs to              "pollutants". But we will pay for testing
                         equip      and     operate    the              which Is performed in the course of
                         replacement      or     temporary              extracting the "pollutants" from the land or
                         locations.                                     water.
               (b) To minimize the suspension of                        The most we will pay for each location
                     business if you cannot continue                    under this Additional Coverage is $10,000
                     "operations".                                      for the sum of all such expenses arising out
                                                                        of Covered Causes of Loss occurring
                                                                        during each separate 12-month period of
                                                                        this policy.




Page 8 of 53                            © insurance Services Office, Inc., 2012                      BP 00 03 07 13
   Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 96 of 102 Page ID #:102




       i. Civil Authority                                              J. Money Orders And "Counterfeit Money"
            When a Covered Cause of Loss causes                           We will pay for loss resulting directly from
            damage to property other than property at                     your having accepted in good faith, in
            the described premises, we will pay for the                   exchange for merchandise, "money" or
            actual loss of Business Income you sustain                    services:
            and necessary Extra Expense caused by                        (1) Money orders issued by any post office,
            action of civil authority that prohibits access                   express company or bank that are not
            to the described premises, provided that                          paid upon presentation; or
            both of the following apply:
                                                                         (2) "Counterfeit money" that is acquired
          (1) Access to the area immediately                                  during the regular course of business,
               surrounding the damaged property is
               prohibited by civil authority as a result of               The most we will pay for any loss under this
               the damage, and the described                              Additional Coverage is $1,000.
               premises are within that area but are not              k. Forgery Or Alteration
               more than one mile from the damaged                       (1) We will pay for loss resulting directly
               property; and                                                  from forgery or alteration of any check,
         (2) The action of civil authority is taken in                        draft, promissory note, bill of exchange
               response to dangerous physical                                 or similar written promise of payment in
               conditions resulting from the damage or                        "money" that you or your agent has
               continuation of the Covered Cause of                           issued, or that was issued by someone
               Loss that caused the damage, or the                           who Impersonates you or your agent.
               action is taken to enable a civil authority
                                                                         (2) If you are sued for refusing to pay the
               to have unimpeded access to the                               check, draft, promissory note, bill of
               damaged property.
                                                                             exchange or similar written promise of
           Civil Authority Coverage for Business                             payment in "money", on the basis that it
           Income will begin 72 hours-after the time of                      has been forged or altered, and you
           the first action of civil authority that prohibits                have our written consent to defend
           access to the described premises and will                         against the suit, we will pay for any
           apply for a period of up to four consecutive                      reasonable legal expenses that you
           weeks from the date on which such                                 incur In that defense.
           coverage began.
                                                                         (3) For the purpose of this coverage, check
           Civil Authority Coverage for necessary                            includes a substitute check as defined In
           Extra Expense will begin immediately after                        the Check Clearing for the 21st Century
           the time of the first action of civil authority                   Act and will be treated the same as the
           that prohibits access to the described                            original It replaced.
           premises and will end:                                        (4) The most we will pay for any loss,
         (1) Four consecutive weeks after the date                           including legal expenses, under this
               of that action; or                                            Additional Coverage is $2,500, unless a
         (2) When your Civil Authority Coverage for                          higher Limit Of Insurance is shown in
               Business Income ends;                                         the Declarations.
           whichever is later.                                        I. Increased Cost Of Construction
           The definitions of Business Income and                        (1) This Additional Coverage applies only to
          Extra Expense contained in the Business                            buildings insured on a replacement cost
           Income and Extra .Expense Additional                              basis.
           Coverages also apply to this Civil Authority                  (2) In the event of damage by a Covered
           Additional Coverage. The Civil Authority                          Cause of Loss to a building that is
           Additional Coverage is not subject to the                         Covered Property, we will pay the
           Limits of Insurance of Section I — Property.                      increased costs incurred to comply with
                                                                             the minimum standards of an ordinance
                                                                             or law in the course of repair, rebuilding
                                                                             or replacement of damaged parts of that
                                                                             property, subject to the limitations stated
                                                                             in Paragraphs (3) through (9) of this
                                                                             Additional Coverage.




BP 00 03 07 13                          CI Insurance Services Office, Inc., 2012                         Page 9 of 53
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 97 of 102 Page ID #:103




        (3) The ordinance or law referred to in                      (7) With respect to. this Additional
             Paragraph (2) of this Additional                             Coverage:
             Coverage Is an ordinance or law that                       (a) We will not pay for the increased
             regulates the construction or repair of                         Cost of Construction:
             buildings or establishes zoning or land
             use requirements at the described                               (I) Until the property is actually
             premises and is in force at the time of                              repaired or replaced, at the same
             loss.                                                                dr another premises: and
        (4) Under this Additional Coverage, we will                         (it) Unless the repair or replacement
             not pay any costs due to an ordinance                                is made as soon as reasonably
             or law that:                                                         possible after the loss or
                                                                                  damage, not to exceed two
            (a) You were required to comply with                                  years. We may extend this period
                 before the loss, even when the                                   in writing during the two years.
                 building was undamaged; and
                                                                        (b) If  the  building is repaired or.replaced
           (b) You failed to comply with.                                    at the same premises, or if you elect
        (5) Under this Additional Coverage, we will                          to rebuild at another premises, the
             not pay for:                                                    most we will pay for the Increased
                                                                             Cost"of Construction is the increased
           (a) The enforcement of or compliance                              cost of construction at the same.
                 with any ordinance or law which
                 requires        demolition,      repair,                    premises.
                 replacement,            reconstruction,                (c) the ordinance or law requires
                                                                             If
                 remodeling or remediatlon of                                relocation to another premises, the
                 property due to contamination by                            most we will pay for the Increased
                 "pollutants" or due to the presence,                        Cost of Construction is the increased
                 growth, proliferation, spread or any                        cost of construction at the new
                 activity of "fungi", wet rot or dry rot;                    premiSes.
                or
                                                                    (8) This Additional Coverage is not subject
           (b) Any costs associated with the                             to the terms of the Ordinance Or Law
                enforcement of or compliance with                        Exclusion, to the extent that such
                an ordinance or law which requires                       exclusion would conflict with the
                any insured or others to test for,                       provisions of this Additional Coverage.
                monitor, clean up, remove, contain,
                treat, detoxify or neutralize, or in any            (9) The costs addressed in the Loss
                                                                         Payment Property Loss Condition in
                way respond to, or assess the                            Section I — Property do not include the
                effects of "pollutants", "fungi", wet rot                increased         cost     attributable   to
                or dry rot.                                              enforcement of or compliance with an
        (6) The most we will pay under this                              ordinance or law. The amount payable
            Additional Coverage, for each described                      under this Additional Coverage, as
            building insured under Section I —                           stated in Paragraph (6) of this Additional
            Property, is $10,000, If a damaged                           Coverage, is not subject to such
            building(s) is covered under a blanket                       limitation.
            Limit of Insurance which applies to more              m. Business Income From Dependent
            than one building or item of property,                    Properties
            then the most we will pay under this
            Additional Coverage, for each damaged                   (1) We will pay for the actual loss of
            building, is $10,000.                                        Business Income you sustain due to
                                                                         physical loss or damage at the premiseS
            The amount payable under this                                of a dependent property or secondary
            Additional Coverage is additional                            dependent property caused by or
            insurance.                                                   resulting from any Covered Cause of
                                                                         Loss.




Page 10 of 53                           Insurarfce Services Office, Inc., 2012                     BP 00 03 07 13
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 98 of 102 Page ID #:104




             However, this Additional Coverage does                   (b) Accepts materials or services from a
             not apply when the only loss at the                            dependent property, which in turn
             premises of a dependent property or                            accepts your materials or services.
             secondary dependent property is loss or                   A road, bridge, tunnel, waterway,
             damage to "electronic data", including                    airfield, pipeline or any other similar area
             destruction or corruption of "electronic                  or structure is .not a secondary
             data". If the dependent property or                       dependent property.
             secondary dependent property sustains
            loss or damage to "electronic data" and                    Any property which delivers any of the
             other property, coverage under this                       following services is not a secondary
             Additional Coverage will not continue                     dependent property with respect to such
             once the other property is repaired,                      services:
            rebuilt or replaced.                                           (i) Water supply services;
             The most we will pay under this                              (ii) Wastewater removal services;
             Additional Coverage is $5,000 unless a                      (iii) Communication supply services;
            higher Limit Of Insurance is Indicated in                           or
             the Declarations.
                                                                         (iv) Power supply services.
        (2) We will reduce the amount of your
            Business income loss, other than Extra                     The secondary dependent property must
            Expense, to the extent you can resume                      be located in the coverage territory of
            "operations", In whole or in part, by                      this policy.
            using any other available:                             (6) The coverage period for Business
           (a) Source of materials; or                                 Income under this Additional Coverage:
           (b) Outlet for your products.                              (a) Begins 72 hours after the time of
                                                                            direct physical loss or damage
        (3) If you do not resume "operations", or do                       caused by or resulting from any
            not resume "operations" as quickly as                          Covered Cause of Loss at the
            possible, we will pay based on the                             premises of the dependent property
            length of time it would have taken to                          or secondary dependent property;
            resume "operations" as quickly as                              and
            possible.
                                                                      (b) Ends on the date when the property
        (4) Dependent property means property                              at the premises of the dependent
            owned by others whom you depend on                             property or secondary dependent
            to:                                                            property should be repaired, rebuilt
           (a) Deliver materials or services to you,                       or replaced with reasonable speed
                or to others for your account. But                         and similar quality.
                services does not mean water supply                (7) The Business Income coverage period,
                services,     wastewater       removal                 as stated In Paragraph (6), does not
                services, communication supply                         include any increased period required
                services or power supply services;                     due to the enforcement of or compliance
           (b) Accept your products or services;                       with any ordinance or law that:
           (c) Manufacture your products for                          (a) Regulates the construction, use or
                delivery to your customers under                           repair, or requires the tearing down
                contract for sale; or                                      of any property; or
           (d) Attract customers to your business.                    (b) Requires any insured or others to
            The dependent property must be located                         test for, monitor, clean up, remove,
            in the coverage territory of this policy.                      contain, treat, detoxify or neutralize,
                                                                           or in any way respond to, or assess
        (5) Secondary dependent property means                             the effects of "pollutants".
            an entity which is not owned or operated
            by a dependent property and which;                         The expiration date of this policy will not
                                                                       reduce the Business Income coverage
           (a) Delivers materials or services to a                     period.
                dependent property, which in turn
                are used by the dependent property
                in providing materials or services to
                you; or



BP 00 03 07 13                      © Insurance Services Office, Inc., 2012                        Page 11 of 53
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 99 of 102 Page ID #:105




          (8) The definition of Business Income                      (2) The Covered Causes of Loss applicable
               contained in the Business Income                           to Business Personal Property include a
               Additional Coverage also applies to this                   computer virus, harmful code or similar
               Business Income From Dependent                            instruction introduced into or enacted on
               Properties Additional Coverage.                           a computer system (including "electronic
      fl. Glass Expenses
                                                                         data") or a network to which it is
                                                                          connected, designed to damage or
          (1) We will pay for expenses incurred to put                    destroy any part of the system or disrupt
               up temporary plates or board up                           its normal operation. But there is no
               openings if repair or replacement of                       coverage for loss or damage caused by
               damaged glass is delayed.                                 or resulting from manipulation of a
         (2) We will pay for expenses incurred to                        computer system (including "electronic
               remove or replace obstructions when                       data") by any employee, including a
               repairing or replacing glass that is part                 temporary or leased employee, or by an
               of a building. This does not include                      entity retained by you, or for you, to
              removing or replacing window displays.                     inspect, design, install, modify, maintain,
                                                                         repair or replace that system.
      o. Fire Extinguisher Systems Recharge
           Expense                                                   (3) The most we will pay under this
                                                                         Additional Coverage — Electronic Data
         (1) We will pay:
                                                                         for all loss or damage sustained In any
             (a) The cost of recharging or replacing,                    one policy year, regardless of the
                  whichever is less, your fire                           number of occurrences of loss or
                  extinguishers and fire extinguishing                   damage or the number of premises,
                  systems        (including   hydrostatic                locations or computer systems involved,
                  testing if needed) if they are                         is $10,000, unless a higher Limit Of
                  discharged on or within 100 feet of                    Insurance is shown in the. Declarations,
                  the described premises; and                            If loss payment on the first occurrence
             (b) For loss or damage to Covered                           does not exhaust this amount, then the
                  Property if such loss or damage is                     balance is available for subsequent loss
                  the result of an accidental discharge                  or damage sustained in, but not after,
                  of chemicals from a fire extinguisher                  that policy year. With respect to an
                  or a fire extinguishing system.                        occurrence which begins in one policy
                                                                         year and continues or results in
         (2) No coverage will apply if the fire                          additional loss or damage in a
              extinguishing system Is discharged                         subsequent policy year(s), all loss or
              during Installation or testing.                            damage is deemed to be sustained in
         (3) The most we will pay under this                             the policy year in which the occurrence
              Additional Coverage is $5,000 in any                       began.
              one occurrence.                                       (4) This Additional Coverage does not apply
      p. Electronic Data                                                 to your "stock" of prepackaged software,
         (1) Subject to the provisions of this                           or to "electronic data" which is
              Additional Coverage, we will pay for the                   integrated in and operates or controls a
              cost to replace or restore "electronic                     building's elevator, lighting, heating,
              data" which has been destroyed or                          ventilation, air conditioning or security
              corrupted by a Covered Cause of Loss.                      system.
              To the extent that "electronic data" is not         q. Interruption Of Computer Operations
              replaced or restored, the loss will be                (1) Subject to all provisions of this
              valued at the cost of replacement of the                   Additional Coverage, you may extend
              media on which the "electronic data"                       the insurance that applies to Business
              was stored, with blank media of                            Income and Extra Expense to apply to a
              substantially identical type.                              suspension of "operations" caused by
                                                                         an interruption in computer operations
                                                                         due to destruction or corruption of
                                                                         "electronic data" cue to a Covered
                                                                         Cause of Loss.




Page 12 of 53                         C Insurance Services Office, Inc., 2012                     BP 00 03 07 13
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 100 of 102 Page ID #:106




         (2) With respect to the coverage provided                   (3) The most we will pay under this
              under this Additional Coverage, the                         Additional Coverage — Interruption Of
              Covered Causes of Loss are subject to                       Computer Operations for all loss
              the following:                                              sustained and expense incurred in any
             (a) Coverage under this Additional                           one policy year, regardless of the
                  Coverage       —     Interruption   Of                  number of interruptions or the number of
                  Computer Operations is limited, to                      premises, locations or computer
                  the "specified causes of loss" and                      systems involved, Is $10,000 unless a
                  Collapse.                                               higher Limit Of Insurance is shown in
                                                                          the Declarations. If loss payment
            (b) If the Businessowners Coverage                           relating to the first interruption does not
                  Form is endorsed to add a Covered                       exhaust this amount, then the balance is
                  Cause of Loss, the additional                           available for loss or expense sustained
                  Covered Cause of Loss does not                         or incurred as a result of subsequent
                  apply to the coverage provided                         interruptions in that policy year. A
                  under this Additional Coverage.                        balance remaining at the end of a policy
            (c) The Covered Causes of Loss include                       year does not increase the amount of
                  a computer virus, harmful code or                      insurance in the next policy year. With
                  similar instruction introduced into or                 respect to any interruption which begins'
                  enacted on a computer system                           In one policy year and continues or
                 (including "electronic data") or a                      results in additional loss or expense in a
                 network to which it is connected,                       subsequent policy year(s), all loss and
                 designed to damage or destroy any                       expense is deemed to be sustained or
                 part of the system or disrupt its                       Incurred in the policy year in which the
                 normal operation. But there is no                       interruption began.
                 coverage for an interruption related               (4) This Additional Coverage — Interruption
                 to manipulation of a computer                           Of Computer Operations does not apply
                 system (including "electronic data")                    to loss sustained' or expense incurred
                 by any employee, including a                            after the end of the "period of
                 temporary or leased employee, or by                    restoration", even If the amount of
                 an entity retained by you, or for you,                 insurance stated in (3) above has not
                 to inspect, design, install, modify,                   been exhausted,
                 maintain, repair or replace that
                 system.                                            (5) Coverage for Business Income does not
                                                                        apply when a suspension of "operations"
                                                                        is caused by destruction or corruption of
                                                                        "electronic data", or any loss or damage
                                                                        to "electronic data", except as provided
                                                                        under Paragraphs (1) through (4) of this
                                                                        Additional Coverage.




BP 00 03 07 13                       © Insurance Services Office, Inc., 2012                       Page 13 of 53
  Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 101 of 102 Page ID #:107




          (6) Coverage for Extra Expense does not                    (3) The coverage described under this
               apply when action is taken to avoid or                     Limited Coverage is limited to $15,000.
               minimize a suspension of "operations"                      Regardless of the number of claims, this
               caused by destruction or corruption of                     limit is the most we will pay for the total
               "electronic data", or any loss or damage                   of all loss or damage arising out of all
               to "electronic data", except as provided                   occurrences of "specified causes of
               under Paragraphs (1) through (4) of this                   loss" (other than fire or lightning) which
               Additional Coverage.                                       take place in a 12-Month period (starting
                                                                          with the beginning, of the present annual
          (7) This Additional Coverage does not apply                     policy period). With respect ,to a
               when loss or damage to "electronic
               data" involves only "electronic data"                      particular occurrence of loss which
               which is integrated in and operates or                     results in "fungi", wet rot or dry rot, we
               controls a building's elevator, lighting,                  will not pay more than the total of
               heating, ventilation, air conditioning or                  $15,000 even if the "fungi", wet rot or
               security system.                                           dry rot continues to be present or active,
                                                                          or recurs, in a later policy period.
       r. Limited Coverage For "Fungi", Wet Rot
           Or Dry Rot                                               (4) The coverage provided under this
                                                                         Limited Coverage does not increase the
         (1) The coverage described In Paragraphs                         applicable Limit of Insurance on any
              r.(2) and r.(6) only applies when the                      Covered Property. If a particular
              "fungi", wet rot or dry rot is the result of               occurrence results in loss or damage by
              a "specified cause of loss" other than                     "fungi", wet rot or dry rot, and other loss
              fire or lightning that occurs during the                   or damage, we will not pay more, for the
              policy period and only if all reasonable                   total of all loss or damage, than the
              means were used to save and preserve                       applicable Limit of Insurance on the
              the property from further damage at the                    affected Covered Property.
              time of and after that occurrence.
                                                                        If there is covered loss or damage to
              This Additional Coverage does not apply                    Covered Property, not caused by
              to lawns, trees, shrubs or plants which                    "fungi", wet rot or dry rot, loss payment
              are part of a vegetated roof.                              will not be, limited by the terms of this
         (2) We will pay for loss or damage by                          Limited Coverage, except to the extent
              "fungi", wet rot or dry rot. As used in this               that "fungi", wet rot or dry rot causes an
              Limited Coverage, the term loss or                        increase in the loss. Any such increase
              damage means:                                             in the loss will be subject to the terms of
                                                                         this Limited Coverage.
             (a) Direct physical loss or damage to
                  Covered Property caused by "fungi",               (5) The    terms of this Limited Coverage do
                  wet rot or dry rot, including the cost                not increase or reduce the coverage
                  of removal of the "fungi", wet rot or                 provided under the Water Damage,
                  dry rot;                                              Other Liquids, Powder Or Molten
             (b) The cost to tear out and replace any                   Material Damage or Collapse Additional
                  part of the building or other property                Coverages.
                  as needed to gain access to the
                  "fungi", wet rot or dry rot; and
             (c) The cost of testing performed after
                  removal, repair, replacement or
                  restoration of the damaged property
                  is completed, provided there is a
                  reason to believe that "fungi", wet rot
                  or dry rot is present.




Page 14 of 53                         © Insurance Services Office, Inc" 2012                      BP 00 03 07 13
 Case 2:22-cv-00301 Document 1-1 Filed 01/14/22 Page 102 of 102 Page ID #:108




          (6) The following applies only if Business                         The most we will pay for loss or damage
               Income and/or Extra Expense Coverage                         under this Extension is $250,000 at
               applies to the described premises and                         each building.
               only if the suspension of "operations"                 (2) Business Personal Property
               satisfies all the terms and conditions of
               the applicable Business Income and/or                        If this policy covers Business Personal
               Extra Expense Additional Coverage:                           Property, you may extend that insurance
                                                                            to apply to:
              (a) If the loss which resulted in "fungi",                                        Personal     Property,
                    wet rot or dry rot does not in itself                  (a) Business
                    necessitate     a    suspension      of                     including such property that you
                    "operations", but such suspension is                        newly acquire, at any location you
                   necessary due to loss or damage to                           acquire; or
                    property caused by "fungi", wet rot or                (b) Business          Personal     Property,
                   dry rot, then our payment under the                          including such property that you
                   Business Income and/or Extra                                 newly acquire, located at your newly
                   Expense Additional Coverages Is                              constructed or acquired buildings at
                   limited to the amount of loss and/or                         the location described in the
                   expense sustained in a period of not                         Declarations.
                   more than 30 days. The days need                         This Extension does not apply to
                   not be consecutive.                                      personal property that you temporarily
             (b) If a covered suspension of                                 acquire in the course of Installing or
                   "operations" was caused by loss or                       performing work on such property or
                   damage other than "fungi", wet rot or                    your wholesale activities.
                   dry rot, but remediation of "fungi",                     The most we will pay for loss or damage
                   wet rot or dry rot prolongs the "period                  under this Extension is $100,000 at
                   of restoration", we will pay for loss
                                                                            each building.
                   and/or expense sustained during the
                   delay (regardless of when such a                  (3) Period Of Coverage
                   delay occurs during the "period of                       With respect to insurance provided
                   restoration"), but such coverage is                     under this Coverage Extension for
                   limited to 30 days. The days need                        Newly Acquired          Or Constructed
                   not be consecutive.                                      Property, coverage will end when any of
   6. Coverage Extensions                                                   the following first occurs:
      In addition to the Limits of Insurance of Section                   (a) This policy expires;
        — Property, you may extend the insurance                          (b) 30 days expire after you acquire the
      provided by this policy as provided below.                                property or begin construction of that
      Except as otherwise provided, the following                               part of the building that would qualify
      extensions apply to property located in or on                             as Covered Property; or
      the building described in the Declarations or in                    (c) You report values to us.
      the open (or in a vehicle) within 100 feet of the
                                                                            We will charge you additional premium
      described premises:
                                                                           for values reported from the date you
      a. Newly Acquired Or Constructed                                      acquire     the property or begin
          Property                                                          construction of that part of the building
         (1) Buildings                                                     that would qualify as Covered Property.
              If this policy covers Buildings, you may             b. Personal Property Off-premises
              extend that insurance to apply to:                       You may extend the insurance provided by
             (a) Your new buildings while being built                  this policy to apply to your Covered
                  on the described premises; and                      Property, other than "money" and
                                                                      "securities", "valuable papers and records"
             (b) Buildings you acquire at premises                    or accounts receivable, while it is in the
                  other than the one described,                        course of transit or at a premises you do
                  intended for:                                       not own, lease or operate. The most we will
                  (i) Similar use as the building                     pay for loss or damage under this
                       described In the Declarations; or              Extension is $10,000.
                 (ii) ,Use as a warehouse.




BP 00 03 07 13                         © Insurance Services Office, inc., 2012                        Page 15 of 53
